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                               APPENDIX EXHIBIT 1

                  KAREN HANDEL EXPERT REPORT (EXCERPTS)
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                                 REVIEW OF

                      STATE OF INDIANA
             VOTER LIST MAINTENANCE ACTIVITIES


                JUDICIAL WATCH, INC., and TRUE THE VOTE
                                      vs.
                  J. BRADLEY KING and TRENT DECKARD,
                Co-Directors of the Indiana Election Division,
                                     and
                CONNIE LAWSON, Indiana Secretary of State

               Civil Action No. 1:12-cv-800-WTL-TAB (S.D. Ind.)


                                  Prepared by:

                                 Karen C. Handel
                              Handel Strategy Group
                               3085 Roxburgh Drive
                              Roswell, Georgia 30076


                                  Submitted to:

                              Christopher Fedeli, Esq.
                                Judicial Watch, Inc.
                           425 Third Street, SW, Suite 800
                               Washington, DC 20024



                              Date: June 26, 2013
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      This analysis revealed that, in 12 Indiana counties, the number of persons on the Indiana
      voter registration list for those counties exceeded 100% of the total VAP in those
      counties. For one county, the number of persons on the voter rolls exceeded VAP by
      more than 43%. Further, 26 other counties had voter rolls that were between 90% and
      100% of VAP.

      As noted in the Complaint, Indiana has previously faced legal action regarding the
      accuracy of its voter rolls. (Complaint, Paragraphs 11-13.) Related to this previous case,
      I reviewed the Consent Decree and Order, Defendants’ Motion to Extend Consent Decree
      Deadlines which included data from various status reports made by Indiana to the United
      States Department of Justice (“DOJ”), various filing status reports and the state’s written
      plan of compliance submitted by Indiana to DOJ.

      Based on my review, I understand the following: In early 2006, the United States sued
      Indiana for failure to comply with Section 8 of NVRA. U.S. v. Indiana, 1:06-cv-1000-
      RLY-TAB (S.D. Ind.). Indiana and the United States entered into a Consent Decree and
      Order in June 2006 that resolved the matter. Under the Consent Decree and Order,
      Indiana agreed to conduct various specific voter list maintenance activities in order to
      comply with federal voter registration laws. In its September 2007 court filing, Indiana
      indicated that it had completed these activities in nearly all of its counties and had made
      significant progress. Indiana also provided specific data to verify its claims of substantial
      progress. These data included the number of deceased voters removed from voter
      registration lists, the number of duplicate records removed, and the number of potentially
      ineligible voter registrations moved to inactive status or cancelled.

      As part of the Consent Decree and Order, Indiana also agreed to develop and implement a
      written compliance plan. This plan was required to set forth certain procedures and
      processes for identifying and removing ineligible voters from the state’s computerized
      voter registration database, as well as tracking procedures to ensure that counties
      complied with the list maintenance activities required under NVRA Section 8. Indiana
      submitted its compliance plan to DOJ in February 2008.

      Additionally, as part of the Consent Decree and Order, Indiana was ordered to contact the
      counties to ensure compliance with the law and to take appropriate action against a
      county that failed to comply with Federal and state law. The Consent Decree and Order
      specifically directed the State to initiate litigation against a county that failed to meet the
      compliance requirements.

      Under the terms of the Consent Decree and Order, the termination date was June 30,
      2009.

      In this current litigation, Plaintiffs contend that, following the expiration of the Consent
      Decree and Order, Indiana again failed to conduct adequate voter list maintenance efforts.
      As a result, plaintiffs contend that Indiana is not meeting its obligations under NVRA
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      The Eighth Circuit Court of Appeals upheld the District Court’s evidentiary rulings and
      reversed on a narrow issue—whether evidence of any LEA noncompliance rendered
      Missouri's effort to "conduct a general program" unreasonable such that the State of
      Missouri was in violation of Section 8 of the NVRA. See United States v. Missouri, 535
      F.3d 844, 851 (8th Cir. 2008). In partially reversing the district court’s order of summary
      judgment and remanding the matter for reconsideration, the Eighth Circuit instructed that
      “the district court also consider any lack of LEA compliance and determine whether any
      such noncompliance renders Missouri’s efforts to ‘conduct a general program’
      unreasonable in removing the names of ineligible voters.”

      The Eighth Circuit’s ruling noted the important relevance of the NVRA obligation that
      the state must “conduct a general program that makes a reasonable effort to remove the
      names of ineligible voters from the official lists of the voters by reason of death or
      change of residence.” The decision specifically emphasized the word “conduct,” noting
      that “states must take specific actions.” The Eighth Circuit further noted that the NVRA
      requirement “envisions the states will actively oversee a general program….” In short,
      noncompliance with the NVRA’s requirements by LEAs could be attributed to the state
      and prove noncompliance by the state.

      On remand, the district court allowed the parties to file briefs on the issue of “whether
      any evidence of LEA noncompliance in this case demonstrates by a preponderance of the
      evidence that the State of Missouri violated its obligation to ‘conduct a general program’
      under Section 8 of the NVRA.” The United States dismissed its complaint before the
      issue was briefed. Therefore, there was never a ruling as to whether the conduct of the
      LEAs constituted a failure of the state to conduct a general program.


      VII.       Accuracy and Currency of Indiana’s 2010 Voter Registration List

      In challenging the accuracy and currency of Indiana’s voter registration list for the 2010
      Federal general election, Judicial Watch relied on (1) data from the 2010 U.S. Census
      data (specifically Indiana’s total VAP in 2010); (2) data contained in the EAC’s 2011
      report to the United States Congress (specifically the total number of individuals
      contained in Indiana’s voter registration list, as reported by Indiana in response to the
      EAC 2010 Election Administration and Voting Survey); and (3) the analysis of that data
      by the demographer hired by Judicial Watch.

      In order to form my opinions, I have reviewed the demographer’s analysis, as well as the
      excerpts from the Census on which he relied and the EAC 2011 Report data submitted by
      Indiana. I must make an important clarification regarding the demographer’s report that I
      reviewed. The report contains a column entitled “County Pop.” The data reflected here is
      the county VAP – not county population – according to Christopher Fedeli of Judicial
      Watch, and the column was simply mislabeled.

      In my experience, there is no other way to ascertain the percentage of voting age
      population registered to vote other than to compare the VAP to the official list of
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      registrants. The Census is the only official number for total VAP for this decade, and
      Indiana’s self-reported data is the only official record of Indiana’s official list of voters.
      Therefore, the use of those numbers by the demographer is reasonable and, in fact,
      required.

      The demographer’s simple mathematical calculations demonstrate that, in numerous
      counties, the registration exceeds the number of people old enough to be registered, and
      for the state as a whole, the registration rate is close to 90%. To a reasonable degree of
      certainty, based on my experience, those facts mean that Indiana’s voter rolls were
      significantly inaccurate and out of date in 2010.

              A.      EAC 2011 Report

      The EAC is required by Federal law to prepare and submit a report to the U.S. Congress
      every two years. 42 U.S.C. §1973gg-7(a)(3). This report addresses the impact of NVRA
      on the administration of Federal elections and must be submitted to the U.S. Congress no
      later than June 30 in the year following the regular Federal general election.

      The data referenced by Judicial Watch is part of the EAC’s 2010 report entitled “The
      Impact of the National Voter Registration Act of 1993 on the Administration of Elections
      for the Federal Office 2009-2010,” as submitted to the 112th Congress on June 30, 2011
      (the “EAC 2011 Report.”) The EAC 2011 Report covers elections for Federal office
      during the period following the November 2008 elections through the November 2010
      elections. The EAC 2011 Report is the fourth biennial report to Congress by the EAC.1

      The Executive Summary of the EAC 2011 Report is based on “the results of a survey to
      all States….”2 The survey included two questionnaires: The Statutory Overview
      Questionnaire, focusing on election laws and procedures, and the Election Administration
      and Voting Survey (known as “EAVS”) that collected data from the states on various
      NVRA-related issues, including voter registration data. The EAC compiled its 2011
      Report based on information compiled and submitted by the states to the EAC in
      February 2011. Indiana was among the states that submitted data for the EAC 2011
      Report.

      Voter registration data presented by the EAC 2011 Report relevant to this litigation
      include:



      1
        The Federal Election Commission submitted previous reports.
      2
        The EAC Survey was distributed to all states, the District of Columbia, and territories.
      However, note that, according to the DOJ’s Questions and Answers on the NVRA: “The
      requirements of the NVRA apply to 44 States and the District of Columbia. Six states
      (Idaho, Minnesota, New Hampshire, North Dakota, Wisconsin and Wyoming) are exempt
      from the NVRA because, on or after August 1, 1994, they either had no voter registration
      requirements or had election-day voter registration at polling places with respect to the
      elections for federal office. http://www.justice.gov/crt/about/vot/nvra/nvra faq.php .
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      The chart below presents Indiana’s registration rates for its Voting Age Population
      (VAP):

                  2010 Indiana Registration Rates for Voting Age Population6

                            Reported          Reported Registration
                                                                                Active Only
            VAP            Registration        (Active + Inactive)    Ranking                 Ranking
                                                                                 % of VAP
                        (Active + Inactive)        % of VAP

          4,875,504         4,329,977                 88.8              12         86.1         8


      Indiana reported that, among those individuals who are of voting age, nearly 90 percent
      were registered to vote in the state. Indiana’s VAP registration rate of 88.8 percent
      ranked the 12th highest among the states and the District of Columbia. While Indiana’s
      VAP registration rate among only active voters decreased three points to 86 percent, the
      percentage of active voters was the 8th highest among states and the District of Columbia.

      For comparison, the chart below presents the 15 highest voter registration rates as
      reported by the state to the EAC (considering all voters—active and inactive):

                  1.        Alaska                                    107.1
                  2.        District of Columbia                      102.4
                  3.        North Dakota7                             100.0
                  4.        Maine                                      97.6
                  5.        Michigan                                   96.5
                  6.        South Dakota                               94.1
                  7.        New Hampshire                              91.8
                  8.        Iowa                                       91.3
                  9.        Missouri                                   90.7
                  10.       Delaware                                   90.1
                  11.       Mississippi                                89.5
                  12.       Indiana                                    88.8
                  13.       Illinois                                   88.1
                  14.       Kentucky                                   87.0
                  15.       Colorado                                   86.6

      Twenty states reported registration rates in excess of 85 percent. The average reported
      registration rate among the states was 78.7 percent, more than 10 percentage points lower
      than Indiana’s rate.

      6
        EAC 2011 Report, page 32, Election Administration and Voting Survey, Table 1c.
      Registration Rates for Voting Age Population (VAP).
      7
        North Dakota does not have voter registration. For consistency between the various
      tables presented in the EAC 2011 Report, the registration was assumed to be the Voting
      Age Population. (See EAC 2011 Report, page 37). North Dakota is an exception in
      various other areas because it does not have voter registration.
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      The EAC 2011 Report also presented state registration rates for Citizen Voting Age
      Population (CVAP). While VAP looks at all individuals who are of voting age, CVAP
      includes only citizens old enough to vote. The chart below details Indiana’s rates:


      2010 Indiana Registration Rates for Citizen Voting Age Population (CVAP)8

                          Reported          Reported Registration
                                                                              Active Only
           CVAP          Registration        (Active + Inactive)    Ranking                   Ranking
                                                                              % of CVAP
                      (Active + Inactive)       % of CVAP

          4,723,809        4,329,977                91.7              15          88.8              7


      Indiana’s reported CVAP registration rate was 91.7 percent, the 15th highest among the
      states and well above the 85.9 percent average among reporting states. Among active
      only voters, Indiana’s CVAP registration rate was the 7th highest at 88.8 percent and
      more than ten percentage points higher than the average 78.6 percent.

                      2.      Voter List Maintenance Data

      The EAC 2011 Report presented data regarding a variety of voter list maintenance
      activities and removal actions conducted by the states from 2008 – 2010. As reviewed in
      Section VI, the NVRA mandates that states conduct a general program of voter list
      maintenance to keep voter rolls accurate and up to date, and states are granted flexibility
      in the administration of list maintenance activities beyond the specific NRVA provisions
      and requirements.

            The EAC 2011 Report surveyed activities regarding:

               Removal notices, including the number sent and responses received;
               The number of registrants moved from active to inactive status; and
               The number of individuals removed from the registration list and the reason
                (death, failure to vote, felony conviction, mental incompetence, felony
                conviction, voter request)




      8
       EAC 2011 Report, page 34, 2010 Election Administration and Voting Survey, Table 1d.
      Registration Rates for Citizen Voting Age Population (CVAP Using Different
      Registration Bases).
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                     a.       Indiana’s Removal Notices

      The EAC 2011 Report notes “removal notices are an important tool for maintenance of
      accurate voter registration rolls.”9 Yet, Indiana reported that this essential list
      maintenance activity was not conducted -- either at the state level or among its counties --
      and reported that no removal notices were sent during the entire 2008 - 2010 reporting
      period.10 Indiana was one of only three states under the NVRA requirements that
      reported not sending removal notices. New Mexico reported that no NVRA mailing was
      done in 2008. Indiana and Rhode Island did not provide an explanation.11

      In total, the states that sent removal notices reported sending over 14.5 million such
      notices, receiving 1.78 million voter confirmations and 518,277 invalid confirmations.
      Over 3.6 million of the removal notices were undeliverable while there was no response
      for the remainder of the notices.

                     b.       Other Removal Activities

      Indiana reported that 892,460 registrants were removed from the state voter rolls from
      2008 - 2010. This represents 20.6 percent of Indiana’s 4,329,977 Reported Registrants,
      the second highest removal rate among all reporting states.

      The following is a breakdown of Indiana’s reasons for removal12:

                          Moved out of jurisdiction                   12,851
                          Death                                       54,061
                          Failure to vote                            276,950
                          Voter request                               23,536
                          Felony conviction                           11,973
                          Mental incompetence                              0
                          Other                                          709
                          Not categorized                            512,380

      Of note, Indiana classified over 500,000 removals, or 57.4 percent of all removals, as
      “not categorized.” No other state reported such a high number. Mississippi had the

      9
        EAC 2011 Report, page 8
      10
         EAC 2011 Report, Page 59; 2010 Election Administration and Voting Survey, Table
      4b. Voter List Maintenance: Removal Notices.
      11
         According to the DOJ’s Questions and Answers on the NVRA: “The requirements of
      the NVRA apply to 44 States and the District of Columbia. Six states (Idaho, Minnesota,
      New Hampshire, North Dakota, Wisconsin and Wyoming) are exempt from the NVRA
      because, on or after August 1, 1994, they either had no voter registration requirements or
      had election-day voter registration at polling places with respect to the elections for
      federal office. http://www.justice.gov/crt/about/vot/nvra/nvra_faq.php.
      12
         EAC 2011 Report, page 63-64; 2010 Election Administration and Voting Survey,
      Table 4b. Voter List Maintenance: Removal Action.
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      second highest “non categorized” removal with just over 35,000, and most states reported
      no “not categorized” removals. In a note from Indiana provided with its EAC
      submission, Indiana confirmed that it does not send removal notices and indicated that its
      submission included the number of voter records cancelled due to being in inactive status
      for more than two Federal general elections.13 It is unclear from the report or Indiana’s
      notation whether these cancelled records are reflected as “non categorized” or as “failure
      to vote” or a combination.

               C.    Judicial Watch Analysis

      The Judicial Watch analysis reviewed the county-by-county data as submitted by Indiana
      to the EAC and available on the EAC website. According to the Judicial Watch
      analysis:

              The VAP voter registration rate exceeded 100% in 12 of the state’s 92 counties –
               Newton, Hancock, Brown, Organ, Union, Warren, Franklin, Tipton, Warrick,
               Crawford, Spencer and Scott counties;
              The VAP voter registration in three counties exceeded 110% -- Crawford
               (114%), Spencer (119.7%), and Scott (143.2%);
              The VAP voter registration rates for 26 other counties was between 90 and
               100%; and
              43 counties had VAP voter registration rates in excess of 88.8%, Indiana’s
               overall VAP registration rate as reported to the EAC.

      This data demonstrates that, in 12 Indiana counties, there are more people registered to
      vote and on the voter rolls than are of voting age. Likewise, in the other counties, the
      voter rolls included from 90 percent to 100 percent of those county residents who are old
      enough to vote.

      Further, the voter registration rate among the voting age population in 43 counties
      exceeded Indiana’s overall statewide voter registration rate of 88.8 percent.

               D.    Conclusion: Indiana’s 2010 Voter Rolls Contained Significant
                     Inaccuracies

      Indiana reported a 20 percent registrant removal rate for 2008 – 2010, according to the
      EAC 2011 Report. However, this does not, on its face, indicate that the state’s voter rolls
      are current and accurate. Other data provided strong evidence to contrary and indicated
      significant inaccuracies existed within the voter rolls.

      First, Indiana’s overall statewide voter registration rate was 88.8 percent for active and
      inactive voters combined, well above the average of 78.7 percent among all reporting

      13
        EAC 2011 Report, page 65; 2010 Election Administration and Voting Survey, Table
      4b. Voter List Maintenance: Removal Action.
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      states. Second, the voter registration rate in 12 specific counties exceeded 100 percent.
      Third, in three counties, the registration rate for the voting age population exceeded 110
      percent, with Crawford County at 114 percent, Spencer at nearly 120 percent, and Scott
      at a staggering 143 percent. Together, in just these three counties, the number of
      registered voters exceeded the number of voting age individuals by more than 12,000.

      The number of registrants on the official list of voters, whether on a statewide or county-
      by-county, can exceed VAP for various reasons. Duplicate registrations have not been
      identified and removed. Individuals who have died have not been removed. Efforts to
      identify and remove registrants who have moved out of the jurisdiction have not been
      adequately performed.

      It is my opinion, based on my experience and expertise as the former Secretary of State
      and Chief Elections Officer for the State of Georgia, and based on the data from the EAC
      2011 Report and the Judicial Watch analysis, that Indiana’s statewide voter rolls in
      connection with the 2010 Federal election were significantly inaccurate and out of date,
      because the registration rate in 12 counties exceeded 100 percent, with three of those
      counties having rates in excess of 110 percent, indicating a considerable number of
      duplicate, inaccurate and/or out-of-date registrations.


      VIII.      Defining a “General Program” and “Reasonable Effort” for Voter
                 List Maintenance and Measuring Voter Roll Accuracy

      A state has flexibility to develop and implement its voter list maintenance program within
      the framework of the legal requirements of NVRA. As noted previously, the program
      must be uniform and nondiscriminatory. The program must make a reasonable effort to
      ensure ineligible voters are removed. The state elections officials and the local elections
      officials work together in developing and implementing the program. State law
      designates the state’s chief NVRA officer responsible for ensuring that the state meets the
      requirements of Federal law.

      In July 2005, the EAC issued “Voluntary Guidance on the Implementation of Statewide
      Voter Registration Lists.” The report stops short of offering specific criteria for list
      maintenance, and today there remains a degree of subjectivity in defining a “general
      program” and a “reasonable effort.” However, states can find significant direction from
      various resources. The DOJ provides a Frequently Asked Questions document regarding
      the NVRA on its website.14 The EAC 2011 Report provides a list of the most frequent
      voter list maintenance activities being conducted by the states, and the National
      Association of Secretaries of State (NASS) produced a report in 2009 that presents a




      14
         U.S. Department of Justice NVRA Frequently Asked Questions;
      http://www.justice.gov/crt/about/vot/nvra/nvra_faq.php
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      States maintain significant flexibility in conducting list maintenance programs in
      recognition of the state’s role in administering elections. However, this flexibility creates
      some ambiguity. For this reason, when defining a “general program” and a “reasonable
      effort,” benchmarking the practices across the states is the most meaningful and relevant
      approach.

      In my opinion, based on my experience and expertise and to a reasonable degree of
      confidence, the list maintenance tasks listed here are widely used among the states and
      are effective tools in maintaining an official voter list that is as accurate as possible. A
      reasonable list maintenance program would include most, but not all, of these activities.

      In defining “reasonable effort,” the activities routinely and regularly employed by other
      states should be taken into consideration. In my opinion, a “reasonable effort” for voter
      list maintenance is one that includes: (1) a new voter verification program; (2) a program
      for the timely removal of registrants who have died, moved outside the jurisdiction, or
      been criminally convicted or declared mentally incompetent (based on state law); (3) a
      proactive NCOA match and postcard mailing done at least every 2 years; (4) a general
      mailing to all registered voters, whether conducted by the state or on a county-by-county
      basis, the frequency of which is determined by the frequency of the NCOA proactive
      statewide mailing, but not less frequently than every 10 years regardless; and (5) a
      removal notice program for inactive voters conducted at least every 2 years.

      The tools available for assessing the accuracy and quality of a voter list are limited.
      Currently, to be the best of my knowledge, a state would have two options: 1) identify
      and hire a professional data research firm to conduct a unique analysis of a state’s voter
      rolls; or 2) utilize U.S. Census Data and existing voter registration data to calculate the
      voter registration rate. The first option would likely provide more detailed data that
      specifically identified invalid, inaccurate and/or duplicate registrations, but would likely
      require significant funding. The second option can be done at little to no cost.

      Therefore, it is my opinion that VAP registration rates are the most reasonably obtained,
      reliable data currently available for evaluating the accuracy of voter rolls. If a
      jurisdiction’s voter registration rate exceeds 100 percent, this is a very strong indication
      that the list most likely has a high degree of inaccuracy and further action is warranted. If
      the voter registration rate for a particular jurisdiction exceeds 90%, this is a strong
      indication that the list most likely has a significant degree of inaccuracy, and further
      action is warranted.

      Further, in my opinion, the “reasonable” test cannot be met by conducting all or even
      some of these activities just once. In order to be reasonable, and therefore effective, these
      activities must be conducted on a consistent, ongoing basis across every jurisdiction in
      the state.

      Additionally, compliance to ensure to ensure that the program is actually being
      performed in a timely, accurate and legal manner is also essential to any reasonable
      effort. Simply having a list of maintenance tasks, preparing a written plan, and/or issuing
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               The Co-Directors noted in this document that “conducting the next statewide
                mailing to all registered voters during 2008 would result in the expenditure of
                taxpayer funds.” 25 The Co-Directors go on to express ongoing concerns regarding
                list maintenance. In spite of this assurance, no subsequent statewide mailing has
                ever been conducted.

               The Co-Directors “will, no later than the last business day of January 2009, and
                every four years after that date, compare information provided by SVRS
                reports regarding active and inactive voters within each county with other data
                provided by federal or state agencies, such as the United States Census Bureau’s
                population estimates, to determine if there may be significant problems with the
                accuracy of voter registration lists.” [Compliance Plan, p. 7 (emphasis added).]
                Despite this requirement and specific recognition of the need to monitor the voter
                rolls for accuracy, Co-Director King said, in his deposition for this matter (Page
                79), that he first learned that some county voter rolls exceeded 100 percent of
                VAP in 2012 from news reports.

      Further, on page 11 of the Compliance Plan, the Co-Directors wrote that “For conducting
      voter list maintenance under the Consent Decree and this Plan ….” (emphasis added).
      The use of the word “and” underscores that the activities outlined in Compliance Plan
      were intended, at least at the time, to be an ongoing effort.

      The Compliance Plan also addresses the Co-Directors’ obligation to ensure compliance
      with Federal and state law as well as the Consent Decree and Order. Specifically, the Co-
      Directors have the authority to take action, including initiate litigation, against a county
      that fails to comply with Federal and state law.


             C. Indiana’s Current Level of Effort

      As described by those individuals who have been deposed in this matter, Indiana’s
      current level of effort in regards to list maintenance and compliance activities is
      significantly less than those under the Consent Decree and set forth in its own
      Compliance Plan. Further, both Federal and state law provide for other activities that
      Indiana, unlike most other states, is not currently conducting.

      This section reviews and assesses Indiana’s current level of effort, including general
      overview of list maintenance activities, as well as issues that impact the state’s ability to
      conduct a program that satisfies Federal law:

                   Indiana’s current list maintenance activities and relevant issues
                   Compliance and oversight


      25
           Written Plan of Compliance, Page 7.
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                             a.     Practices Regarding Voter Record Reviews
                                    and Updates

      In reading the Redman, Coleman and Fotia depositions, I observed multiple
      inconsistencies in the way county officials review voter records to determine appropriate
      next steps, such as updating or canceling the record or moving the registrant to the
      inactive list.

      In the Redman Deposition, Ms. Redman described what is called the “Confidence
      Factor.” This is a percentage rating generated by the SVRS during the matching process
      to rate the degree of confidence that two records actually match. For example, the
      Department of Health interfaces with the SVRS, and a process to match death records
      and voting records is conducted to identify registrants that may be deceased. The
      matching process compares available data, including name, address, date of birth,
      driver’s license number and/or last four digits of the Social Security number. The system
      then calculates a “Confidence Factor” based on the extent to which the data matches. For
      example, a 100% Confidence Factor indicates a complete match, while a 90%
      Confidence Factor indicates a slightly less than absolute match.

      The relevant issue arises in the interpretation of and confusion surrounding the
      Confidence Factor and what, if any, actions are taken to verify the voter record if the
      match is not absolute or 100%.

      Ms. Redman, on pages 17 – 20 of her deposition, discusses her interpretation of the
      Confidence Factor rating and approach to list maintenance based on the Confidence
      Factor. In her responses, she noted “if we’re positive, we cancel them,” (p. 18) and on
      follow-up, responded that positive meant “an absolute match.” Absence a perfect match,
      Ms. Redman indicated that there is no established office policy regarding when and what
      steps to take to determine if the records match. She went on to point out that counties
      make their own determinations regarding what actions, if any, the Confidence Factor
      dictates (Redman Deposition, p. 42).

      In his deposition, Mr. Coleman said that “it didn’t take him long to discover … that we
      had a lot of dead people on our voting rolls” (p. 13). He pointed out limitations to the
      system, particularly the Confidence Factor rating. Mr. Coleman also said that if the match
      is “under 50 percent,” it will not be sent as a possible match and indicated that, after his
      own research, he has “canceled hundreds of deceased persons because…they didn’t make
      it through the process.” (p. 17)

      Mr. Coleman also noted that, for a time, he was conducting his own research on
      registrants over the age of 100 to determine if they were deceased. The state advised that
      this was discriminatory and he stopped. (Coleman Deposition, p. 43).

      Mr. Fotia indicated in his deposition that he “does not rely” on the Confidence Factor
      (Fotia Deposition, p. 26). Mr. Fotia acknowledged that, if one county is “very
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      conservative” in relying on the Confidence Factor, updates could be missed and the other
      county would not be notified (Fotia Deposition, p. 28).

                            b.      Countywide Mailings

      General mailings are a common and highly effective tool in conducting list maintenance.
      Most states conduct some type of general mailing, whether statewide or on a county-by-
      county basis, on a regular and routine basis, although the frequency varies from every
      year to every two years to every four years.

      In Indiana, counties may conduct countywide mailings. However, such mailings are not
      required. Between 2009 and 2012, only 5 of Indiana’s 92 counties conducted countywide
      mailings, according to Co-Director King (King Deposition, p. 36).

      In July 2012, Warrick County conducted a countywide mailing to its entire voter
      registration list. Approximately 49,000 registrants received the mailing (Redman
      Deposition, p. 59). Approximately 13,000 cards, or 26.5 percent, were returned
      undeliverable (Redman Deposition, p. 61). Since that mailing, 8,500 registrants, or
      17.3% of Warrick County’s registrant list, were moved to inactive status (Redman
      Deposition, p. 61).

      Of note, Redman indicated that these mailings were a “big way” to determine if a
      registrant had moved (Redman Deposition, p. 62). She went on to discuss that a mailing
      to registrants regarding a precinct change is also an option for identifying voters whose
      residency has changed (Redman Deposition, p. 62).

      In contrast, according to Mr. Coleman, St. Joseph County has never conducted a
      countywide mailing (Coleman Deposition, p. 63). He cited various reasons for this, chief
      among them funding. Mr. Fotia said he did not know when the last countywide mailing
      had been conducted in St. Joseph County (Fotia Deposition, p. 32).

                            c.      Statewide Mailings

      More states are adopting statewide mailings as part of their overall list maintenance
      efforts. Indiana last conducted a general statewide voter mailing in 2006, as part of the
      Consent Decree it entered into with the DOJ. As previously referenced, the 2006
      statewide mailing identified 609,282 possibly ineligible registrants, resulting in 2,247
      cancellations and 316,756 transfers to inactive status. Indiana did not conduct additional
      statewide mailings despite including a specific reference to do so every four years in its
      own Written Compliance Plan submitted to the DOJ.

      When asked whether statewide mailings would contribute to more accurate voter rolls,
      Mr. Fotia responded that he believed they would (Fotia Deposition, p. 114).
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                              d.      NCOA Mailings

      According to its submission for the NASS 2009 Report, the Indiana Secretary of State
      may conduct an annual residency confirmation mailing to each voter in the state.26
      Counties may utilize the NCOA database to conduct address verification in certain
      circumstances, according to the depositions of Ms. Redman and Mr. Fotia. However, the
      state does not utilize nor does it even have the access to utilize the NCOA database for a
      statewide proactive mailing to its voter list.

      Co-Director King noted that, while some NCOA data was obtained, such as checking the
      validity of an address when it was entered into the SVRS, NCOA data for address
      forwarding orders was not obtained previously by the state because there had been no
      agreement with his Co-Director to do so. (King Deposition, p. 42).

      The NCOA database is used on a limited basis by the counties to verify address
      information of registrants being entered into the SVRS. However, there were conflicts
      with how to proceed even on this limited basis. According to Mr. Fotia, conflicting
      advice has been given regarding the National Change of Address (NCOA) process and
      specifically how to handle a letter that is returned undeliverable from the new NCOA
      address. One Co-Director advised that the registrant be activated for the previous
      address, while the other Co-Director said the registrant should be canceled. Mr. Fotia
      indicated that this situation is resolved at the county level. (See pp. 44-45 of Fotia
      Deposition).


                              e.      Standard Procedures / Training /
                                      Conflicting Guidance

      Based on the deposition testimony, Indiana lacks standard procedures for several
      important list maintenance tasks; training is an opportunity for improvement; and the
      statutory requirement to have co-directors, one from each political party, results in
      conflicting advice and opinions on key voter list maintenance activities. The following
      are several examples:

           Acceptable Mailings / Conflicting Guidance from the State. Warrick County and
            St. Joseph County officials have different understandings of the types of voter
            mailings that are permissible for list maintenance. As referenced above, Ms. Redman
            listed mailings to all voters in the jurisdiction regarding precinct changes as an
            appropriate list maintenance option. Mr. Coleman said in his deposition that he was
            told undeliverable mail from a precinct mailing could not be used for list maintenance
            (Coleman deposition, p. 40).



      26
           NASS 2009 Report, page 33.
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         Training. Mr. Coleman expressed concerns that, during an annual elections
          conference, it was “clear” to him that there was “not a universal understanding” of
          voter list maintenance among county elections officials (Coleman Deposition, p. 83).
          He further stated that “a lot” of the county elections officials had not completed list
          maintenance activities (Coleman Deposition, p. 85). While this is Mr. Coleman’s
          opinion, he states that he did not get “a lot of training” (p. 11) and his comments are
          supported by the contradictory practices between Warrick County and St. Joseph
          County.

         Significant Conflicting Opinions. The Co-Directors have disagreed on a number of
          voter list maintenance issues. Based on Co-Director King’s deposition testimony,
          over his tenure, areas of disagreement regarding list maintenance included: using jury
          notice declarations (p. 65), relevance of census data for monitoring county
          compliance (p. 77), encouraging counties to coordinate with colleges (p. 87), and
          joining the Interstate Cross-Check initiative (p. 92), among others. Co-Director King
          described the challenges in reaching agreement with his counterpart, and when asked
          whether this made it more difficult to comply with NVRA, Co-Director King
          responded “yes” (p. 91).

             D.      Conclusion: Indiana’s Current List Maintenance Efforts
                     Lack Consistency and Uniformity

      Indiana has had knowledge about the lack of quality in its voter rolls since 2006. The
      state also has had varying levels of list maintenance effort over that time. Yet, Indiana’s
      current level of effort is substantially less than those required by the Consent Decree and
      Order and set forth in its own Written Compliance Plan and significantly less than the
      efforts in other states.

      In my opinion, the list maintenance activities required under the Consent Decree and
      Order more than satisfied the state’s Federal obligations under NVRA Section 8. The
      effort was clearly intensive. The level of effort expended by the counties and the state
      was naturally much higher because of the lack of ongoing efforts to that date. Further,
      based on Indiana’s own data regarding the significant number of voter records that were
      updated, cancelled or moved to inactive status, the maintenance program defined in the
      Consent Decree and Order was effective. The activities were also generally reasonable
      given the fact that nearly three-quarters of the counties were able to successfully
      complete the required tasks, and those that did not failed to do so, not because the effort
      required was too great, but because of extenuating circumstances (such as office
      flooding). It is my opinion that, if Indiana had continued to perform the maintenance
      tasks required under this Consent Decree and Order, even with reduced reporting
      requirements, the state would have a list maintenance effort that satisfied its NVRA
      requirements.

      Indiana also developed a Written Plan of Compliance, which provided a blueprint for an
      appropriate ongoing program. While the monthly reporting exceeded the reasonable test,
      once the state, with the counties, had achieved compliance with the Consent Decree and
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      Order, the Co-Directors could have transitioned to some less frequent reporting, perhaps
      annual. Indiana would have met its NVRA obligations had the Co-Directors continued to
      track the activities of the counties, ensured that these activities were being executed
      appropriately, conducted the voter roll review every four years, and followed through
      with the verification mailing if a quality issues was identified. (Written Compliance Plan,
      p. 7-8)

      Two areas of inconsistency also raise additional serious concerns and, in my opinion,
      contribute to the poor quality of Indiana’s voters.

      First, the Confidence Factor is highly subjective and inconsistent. In the absence of
      specific standards for how to proceed based on varying degrees of the Confidence
      Factors, list maintenance activities become overly subjective, leading to counties
      employing vastly different criteria for updating or canceling a record. For example, one
      county may conduct certain additional research if the Confidence Factor falls below 90
      percent, while another county may not conduct this research unless the Confidence Factor
      is below 75 percent. The lack of standardization for reviewing and evaluating voter
      records has led to varying rational for removal of registrants from one county to the next.

      Second, countywide mailings have not been conducted in a consistent, uniform manner.
      Just 5 of Indiana’s 92 counties conducted these mailings, according to deposition
      testimony. While funding may have been an issue, it should not have been an
      insurmountable one. The cost for the mailings is minimal considering overall county
      budgets, and the legal obligation to maintain accurate roles should be taken into
      consideration. For example, St. Joseph County’s 2013 total annual budget is set at more
      than $91.7 million.27 Further, five counties were able to secure the resources to conduct a
      general mailing. This lack of uniformity creates a situation in which the records of
      registrants in one county receive higher scrutiny than those in other counties.

      Indiana also does not conduct NCOA mailing to all registrants. It is my opinion that the
      NCOA mailing is particularly important if a state is not conducting a general countywide
      or statewide mailing.

      In my opinion, more effective training and step-by-step procedures and standards will
      enhance Indiana’s voter list maintenance efforts, so that all election officials are
      operating under the same or substantially similar procedures. This helps to facilitate
      uniformity in practices and promotes greater accuracy across the entire registration list.



      27
         St. Joseph County annual budget;
      http://www.stjosephcountyindiana.com/departments/Auditor/2013%20Budget.pdf;
      http://articles.southbendtribune.com/2012-10-16/news/34506225_1_county-employees-
      commissioner-bob-kovach-scale-in-county-government. Note: Two links are provided,
      because at the time of completion of this document, the direct link to the PDF document
      on the St. Joseph County auditor’s website was not working.
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      While the conflicting advice is, in part, due to the structure of Indiana elections required
      under Indiana law, it nevertheless adds to inconsistencies and difficulties in administering
      voter list maintenance activities. As a result, in my opinion, this leads inconsistent
      practices from county to county. This issue may well be resolved with the recently passed
      legislation giving authority to the Secretary of State as the final decision maker in the
      event of conflicting opinions.


      X.      Compliance and Oversight

      In this section, I will review compliance and oversight activities that Elections Co-
      Directors, as the election officials jointly designated as Indiana’s NVRA official, have
      conducted and continue to conduct in order to ensure that counties, and therefore the
      state, are conducting a list maintenance program that meets Federal and state law. I also
      review the implications of the ruling by the U.S. Court of Appeals for the Eighth Circuit
      in U.S. v State of Missouri, 535 F.3d 844 (8th Cir. 2008).

              A.      Indiana’s Compliance and Oversight Efforts

      Under Indiana law, the Co-Directors of the Election Division have overall responsibility
      for the state voter registration activities and serve as the state’s NVRA official. Ind.
      Code § 3-7-11-1, -2. The Co-Directors are jointly designated, under 42 U.S.C. § 1973gg-
      8, as the chief state election official responsible for the coordination of state
      responsibilities under NVRA. Ind. Code § 3-7-11-1. Among other related duties, the Co-
      Directors are responsible for coordinating with the State Elections Commission to
      oversee the implementation and administration of NVRA and protect the fundamental
      rights of voters. Ind. Code § 3-7-11-2.

      Indiana law also permits various voter registration activities, including voter list
      maintenance activities, to be delegated to county voter registration officials. However,
      the Co-Directors are still responsible for ensuring that the state meets its obligations
      under NVRA Section 8.

      State law provides the Co-Directors with several tools to ensure compliance. Beyond
      state law, the Co-Directors can, as part of their authority, require various compliance
      reports and consider certain data, such as registration rates, as part of a state compliance
      and oversight effort. Additionally, the 2006 Consent Decree and Order and Indiana’s
      Written Compliance Plan called for significant compliance measures.

      The following is a summary of the specific compliance activities available to the Co-
      Directors:

          Affidavit re Voter Registration Cancellations. Indiana law requires county voter
           registrations officials to file an affidavit under affirmation with the election division
           verifying that list maintenance tasks had been performed. However, there was no
           deadline for submitting this affidavit. Mr. King noted that the regularity of counties
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            filing the affidavits was “not frequently” (King Deposition, p. 55). Co-Director
            Deckard indicated that he became aware that most counties were not filing the
            required affidavit in 2011 (Deckard Deposition, p. 37). Despite both Co-Directors
            being aware that the affidavits were not being filed as required by state law, no action
            was taken to encourage or direct the counties to comply.

            In their depositions, Ms. Redman, Mr. Coleman and Mr. Fotia said that they were
            unaware of this requirement.

            In his deposition, Co-Director King noted that provisions contained in a new state law
            (SB 519) require county election officials to file an affidavit no later than 77 days
            prior to a Federal general election verifying that list maintenance activities had been
            properly conducted and completed prior to 90 days before the election. Mr. King
            acknowledged that the new law, requiring affidavits to be filed by a specific deadline,
            would “certainly” be beneficial in monitoring county performance (King Deposition,
            pp. 54-56).

           County NVRA Implementation Plan. Under Indiana law, county voter registration
            officials must file an annual report with the election division detailing revisions to the
            county NVRA implementation plan adopted during the preceding year. 28 Ms.
            Redman indicated that she was unaware of this requirement (Redman Deposition, p.
            68).

           Compliance Plan. To comply with the 2006 Consent Decree, Indiana completed its
            Written Compliance Plan, discussed earlier. The Compliance Plan set forth detailed
            tracking procedures and monthly county activity reports to ensure that the counties
            were complying not only with the activities requirement under the Consent Decree,
            but also complying with NVRA Section 8 generally.

            Co-Director King acknowledged that these tracking procedures and reporting
            requirements were discontinued when the Consent Order expired, despite the fact that
            the SVRS can still generate these reports. Both the Consent Decree and the
            Compliance Plan contained provisions for violation notices to be sent to the counties.
            This process was also discontinued. When asked if these compliance tools were
            helpful, King said that they were (King Deposition, p. 31).

            The Compliance Plan also called for the use of U.S. Census data in monitoring voter
            registration rates among the Voting Age Population (VAP.) The state discontinued
            use of this valuable tool for voter roll accuracy measurement.




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           Ind. Code 3-7-12-28.1
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             B.      Implications of US. v. Missouri

      The Eighth Circuit Court of Appeals case regarding U.S. v Missouri was reviewed in
      Section VI. The Eighth Circuit decision noted that the NVRA obligation for conducting
      a general list maintenance program rests with the state. The decision emphasized the
      word “conduct” when discussing this obligation, noting that the NVRA “envisions the
      states will actively oversee a general program….” On remand, the U.S. dismissed its
      case prior to a decision by the District Court as to whether the efforts of the counties were
      legally sufficient. Despite the fact that there is no guidance with respect to that particular
      question, the Eighth Circuit’s decision provides valuable insights regarding the nature of
      a state’s obligations and whether the state’s role is assertive or passive in conducting and
      overseeing the voter list maintenance program.

      In his deposition testimony, Co-Director Deckard affirmed that he, jointly with fellow
      Co-Director King, is the NVRA compliance officer and acknowledged that the co-
      directors are responsible for conducting the list maintenance program (Deckard
      Deposition, p. 40 and p. 127). However, Co-Director Deckard further testified that
      “conducting” means to “provide resource information…” (Deckard deposition, p. 128).
      On several occasions in his testimony, Co-Director Deckard defined his role as being a
      “resource” and an “interpretive resource” to the counties on the NVRA requirements
      (Deckard Deposition, p. 126-128). When asked about his ability or obligation to take
      corrective action when a county was not conducting appropriate list maintenance tasks,
      Co-Director Deckard said that the Co-Directors’ role was to be a “resource and guide
      point.” (Deckard Deposition, p. 130). When asked if the Co-Directors had the ability to
      issue “stern” warnings to nonperforming counties or take other corrective action, such as
      informing a county regarding violations of Indiana law in writing, Co-Director Deckard
      said “I issue a Guidebook that tells them very specifically about the actions they must
      taken [sic] under both federal and state law. That’s pretty stern.” (Deckard Deposition, p.
      129).

      Co-Director King also acknowledged that the Co-Directors are responsible for the state’s
      NVRA compliance (King Deposition, p. 67). Like Co-Director Deckard, Co-Director
      King referred to the state’s role as “serving as a source for information and training to
      make sure that the county voter registration officials [follow] the requirements of federal
      and state law and then carry them out” (King Deposition, p. 67).

      As noted above in Section X(A), under Indiana law, counties are required to submit
      affidavits regarding registrant removals and an annual NVRA plan. Co-Director Deckard
      and King acknowledged that these tools were a resource for compliance efforts, and
      further confirmed that the counties were not meeting these requirements nor were they
      making any effort to require that the counties do so.
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               C.      Conclusion: Indiana Did Not Conduct Sufficient
                       Oversight Activities

      A reasonable effort by a state in conducting voter list maintenance must include an
      adequate compliance effort. Indiana had a robust compliance program under the 2006
      Consent Decree and Order and even called for significant compliance efforts as part of its
      own Written Compliance Plan. Further, Indiana state law requires basic reporting by the
      counties in the form of affidavits regarding registrant removals and annual NVRA plans.

      Today, however, Indiana is performing virtually no oversight or compliance and has
      failed to enforce, or even attempt to enforce, the state law regarding annual voter list
      maintenance plan updates and affidavits from its counties.

      While there was no final ruling in the Missouri case, the court provided relevant insight
      into the state’s obligations.

      It is my opinion, based on my experience and expertise and my direct knowledge in
      interacting with county election officials, that a basic plan for oversight and compliance
      is necessary in any reasonable effort to maintain accurate voter rolls. A state’s
      responsibility is an active one and serving as little more than a passive information
      resource is insufficient to meet the state’s NVRA obligations. Further, the Co-Directors
      had—and still have—at their disposal state law that offers a basic tool in determining if
      the counties are conducting list maintenance tasks in a timely, appropriate manner.

      Therefore, it is my opinion, based on my expertise and the review of depositions and
      other documents, that this lack of oversight and compliance has rendered Indiana’s voter
      list maintenance program ineffective and unreasonable.


      XI.      Overall Opinions and Conclusions

      I was retained to provide my opinion on whether Indiana made a “reasonable effort” to
      maintain and update its voter rolls to ensure currency and accuracy for the 2010 Federal
      elections. In my opinion, based on my experience and expertise as the former Secretary
      of State for the State of Georgia, with responsibilities as the chief NVRA official, and to
      a reasonable degree of confidence, Indiana failed to make a reasonable effort to conduct a
      general program for voter list maintenance and did not meet its obligations under the
      NVRA.

      My report provides detailed conclusions and opinions, as appropriate in each section.
      The following is a summary of the key points supporting these opinions and conclusions:

           Indiana had the benefit of strong guidance regarding activities that together generally
            constituted a “reasonable effort” in the 2006 Consent Decree and Order and its
            Written Plan of Compliance.
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         While Indiana conducts a new voter verification program, it does so based on the
          highly subjective “Confidence Factor,” which led to inconsistent verification
          practices.

         While Indiana conducts a program for the timely removal of registrants who have
          died, been criminally convicted or declared mentally incompetent, Indiana does not
          conduct other generally accepted list maintenance practices:

             –   NCOA mailing to all registered voters at least every two years
             –   General mailing to all registrants either on a statewide basis or county-by-
                 county at least every 10 years or more frequently in the absence of NCOA
                 mailings
             –   Removal notices

         Indiana failed to exercise even minimal oversight and compliance among its counties,
          including:

             –   Failing to ensure that counties were following state and federal law for list
                 maintenance activities; and
             –   Failing to ensure that counties followed state law for submitting required
                 reports and plans

         Indiana’s minimal activities were not conducted in a uniform, nondiscriminatory
          manner, including:

             –   Countywide mailings were conducted in 5 of the state’s 92 counties,
                 subjecting registrants in one county to a higher degree of scrutiny than those
                 in the others;
             –   The use of the “Confidence Factor” without adequate standards to determine
                 consistent next steps created inconsistencies in the manner in which voter
                 records were verified and subsequently confirmed or cancelled.
             –   Warrick County conducted a mailing regarding a precinct change and utilized
                 the information for list maintenance. The State Election Division advised St.
                 Joseph County that precinct change mailings could not be used for list
                 maintenance.

         Indiana was on notice that its voter rolls were substantially inaccurate and out of date,
          based on the data the state submitted to the EAC. This data showed that numerous
          counties had voter registration rates in excess of 100% and three counties had voter
          registration rates in excess of 115%. Yet, despite the indications of serious quality
          issues with its voter rolls, the state did not act.
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      In summary, Indiana has failed to conduct even the most basic list maintenance program
      to ensure reasonably accurate voter rolls.

      First, according to the EAC 2011 Report and data provided by Indiana, Indiana’s voter
      registration rate was nearly 90%, well above the national voter registration rate among
      states of 78.7%. This data, coupled with the county-by-county data, provides strong
      evidence that significant inaccuracies exist with Indiana’s official list of registrants.

      Second, a program that consists of only activities for new voter verification and removals
      due to death, criminal conviction or mental incompetence is insufficient to meet the
      “reasonable” test. A general program, based on the commonly used list maintenance
      task, must include some combination of NCOA mailings, general mailings, and notice
      mailings

      Third, Indiana failed to conduct its list maintenance tasks with consistency and
      uniformity.

      Finally, there is the question of who is ultimately responsible for ensuring that the state
      meets its NVRA obligations. The Co-Directors are statutorily designated as the state’s
      joint NVRA officials. Certainly, the organizational structure that requires Co-Director,
      one from each major political party, presents certain challenges. Additionally, the Co-
      Directors have the authority to delegate certain list maintenance activities to the counties.

      In my opinion, none of these factors absolves the Co-Directors from their overall
      obligations under the NVRA—obligations that they failed to meet in connection with the
      2010 Federal election and continue to fail to meet even today.

                                                 # # #
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                               APPENDIX EXHIBIT 2

              STEVEN CAMAROTA DECLARATION AND ATTACHMENTS
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   JUDICIAL WATCH, INC.,               )
   and TRUE THE VOTE,                  )
                                       )
                     Plaintiffs,       )                 Case No. 1:12-cv-800-WTL-TAB
         v.                            )
                                       )
   J. BRADLEY KING, et al.             )
                                       )
                     Defendants.       )
   ____________________________________)

                           DECLARATION OF STEVEN CAMAROTA

          Pursuant to 28 U.S.C. § 1746, I, Steven Camarota, hereby state and declare as follows:

          1.      My name is Steven Camarota. I am over the age of eighteen and have personal

   knowledge of the facts set forth below.

          2.      My current position is Director of Research for the Center for Immigration

   Studies, a Washington, DC-based research institute that examines the consequences of legal and

   illegal immigration on the United States.

          3.      I hold a master’s degree in political science from the University of Pennsylvania,

   and a Ph.D. in public policy analysis from the University of Virginia. During the course of

   obtaining these degrees, I received graduate level training in the statistical study of human

   populations, which qualifies me to conduct demographic research on a professional basis.

          4.      In 2011, I was retained by Judicial Watch in my individual capacity to perform an

   analysis of certain voter registration data, including the Indiana county analysis shown on the

   attached document. See Attach. 1. I created this Indiana county analysis using population data

   from the U.S. Census Bureau’s American Fact Finder website for the 2010 Census. To derive


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   total county populations, I used 100% data showing the age 18 and over population for each

   county. I generated this data on July 29, 2011.

           5.     I then compared this data to 2010 Indiana county voter registration totals available

   from the U.S. Election Assistance Commission’s website from its 2011 Report to Congress.

   This comparison resulted in a ratio showing the percentage of registered voters to the total voting

   age population for each Indiana county shown in the attached document. See Attach. 1.




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           I HEREBY DECLARE under penalty of perjury that the foregoing is true and correct.

    Executed on this lOth day of October, 2013 in Washington, DC.




                                                  3
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 29 of 147 PageID #: 393




                                  ATTACHMENT 1

                     TO DECLARATION OF STEVEN CAMAROTA
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 30 of 147 PageID #: 394




                                               Total Number of
                                                    persons
                                                registered and
                                                eligible in Nov
                                                    Election
    State      Jurisdiction      County Pop.         QA1a        REG/TVAP
    Indiana    SCOTT COUNTY           18,369              26,311    143.2%
    Indiana    SPENCER COUNTY         15,889              19,017    119.7%
    Indiana    CRAWFORD COUNTY         8,218               9,371    114.0%
    Indiana    WARRICK COUNTY         44,258              48,020    108.5%
    Indiana    TIPTON COUNTY          12,233              12,867    105.2%
    Indiana    FRANKLIN COUNTY        17,054              17,879    104.8%
     Indiana   WARREN COUNTY           6,512               6,762    103.8%
     Indiana   UNION COUNTY            5,631               5,751    102.1%
     Indiana   ORANGE COUNTY          14,953              15,180    101.5%
     Indiana   BROWN COUNTY           12,070              12,201    101.1%
     Indiana   HANCOCK COUNTY         51,664              52,052    100.8%
     Indiana   NEWTON COUNTY          10,965              11,001    100.3%
     Indiana   CLARK COUNTY           84,123              83,699     99.5%
     Indiana   ST. JOSEPH COUNTY     201,080            199,738      99.3%
    Indiana    STARKE COUNTY          17,667              17,472     98.9%
    Indiana    VANDERBURGH COUNTY    139,807            138,256      98.9%
    Indiana    HARRISON COUNTY        30,057              29,611     98.5%
    Indiana    MARTIN COUNTY           7,853               7,723     98.3%
    Indiana    FLOYD COUNTY           56,647              54,846     96.8%
    Indiana    FOUNTAIN COUNTY        13,066              12,528     95.9%
    Indiana    POSEY COUNTY           19,772              18,935     95.8%
    Indiana    CARROLL COUNTY         15,198              14,537     95.7%
    Indiana    BOONE COUNTY           40,723              38,802     95.3%
    Indiana    WHITE COUNTY           18,683              17,794     95.2%
    Indiana    HAMILTON COUNTY       191,631            182,397      95.2%
    Indiana    HOWARD COUNTY          63,167              59,932     94.9%
    Indiana    RIPLEY COUNTY          21,228              20,109     94.7%
    Indiana    DELAWARE COUNTY        94,098              87,273     92.7%
    Indiana    DEARBORN COUNTY        37,532              34,801     92.7%
    Indiana    ALLEN COUNTY          259,371            240,419      92.7%
    Indiana    PIKE COUNTY             9,965               9,235     92.7%
    Indiana    PULASKI COUNTY         10,204               9,405     92.2%
    Indiana    CLAY COUNTY            20,449              18,808     92.0%
    Indiana    DUBOIS COUNTY          31,220              28,529     91.4%
    Indiana    MADISON COUNTY        101,247              92,400     91.3%
    Indiana    PARKE COUNTY           13,626              12,402     91.0%
    Indiana    FAYETTE COUNTY         18,459              16,646     90.2%
    Indiana    RUSH COUNTY            13,085              11,796     90.1%
    Indiana    KNOX COUNTY            30,248              27,158     89.8%


                                      PL-000090
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    Indiana    OHIO COUNTY             4,828        4,318    89.4%
    Indiana    LAPORTE COUNTY         86,085       76,963    89.4%
    Indiana    WASHINGTON COUNTY      21,136       18,896    89.4%
    Indiana    DEKALB COUNTY          31,087       27,689    89.1%
    Indiana    VERMILLION COUNTY      12,468       11,081    88.9%
    Indiana    BLACKFORD COUNTY        9,852        8,729    88.6%
    Indiana    BENTON COUNTY           6,570        5,818    88.6%
    Indiana    JACKSON COUNTY         31,960       28,288    88.5%
    Indiana    HENDRICKS COUNTY      105,540       93,366    88.5%
    Indiana    GIBSON COUNTY          25,358       22,214    87.6%
    Indiana    MARION COUNTY         676,888      591,752    87.4%
    Indiana    GRANT COUNTY           54,892       47,889    87.2%
    Indiana    WABASH COUNTY          25,429       22,132    87.0%
    Indiana    MORGAN COUNTY          51,566       44,793    86.9%
    Indiana    JOHNSON COUNTY        102,754       89,068    86.7%
    Indiana    OWEN COUNTY            16,564       14,330    86.5%
    Indiana    BARTHOLOMEW COUNT      57,434       49,602    86.4%
    Indiana    LAWRENCE COUNTY        35,262       30,441    86.3%
    Indiana    SULLIVAN COUNTY        16,885       14,519    86.0%
    Indiana    LAKE COUNTY           368,732      316,137    85.7%
    Indiana    HUNTINGTON COUNTY      28,329       24,263    85.6%
    Indiana    SWITZERLAND COUNTY      7,891        6,744    85.5%
    Indiana    VIGO COUNTY            84,799       72,398    85.4%
    Indiana    WHITLEY COUNTY         25,109       21,369    85.1%
    Indiana    PORTER COUNTY         124,422      105,887    85.1%
    Indiana    JEFFERSON COUNTY       25,094       21,300    84.9%
    Indiana    ELKHART COUNTY        141,384      119,918    84.8%
    Indiana    FULTON COUNTY          15,673       13,243    84.5%
    Indiana    PERRY COUNTY           15,195       12,781    84.1%
    Indiana    WAYNE COUNTY           53,034       44,514    83.9%
    Indiana    JENNINGS COUNTY        20,995       17,617    83.9%
    Indiana    RANDOLPH COUNTY        19,788       16,593    83.9%
    Indiana    MARSHALL COUNTY        34,402       28,650    83.3%
    Indiana    JASPER COUNTY          24,884       20,694    83.2%
    Indiana    WELLS COUNTY           20,737       17,151    82.7%
    Indiana    CLINTON COUNTY         24,375       20,037    82.2%
    Indiana    NOBLE COUNTY           34,686       28,437    82.0%
    Indiana    DAVIESS COUNTY         22,528       18,449    81.9%
    Indiana    KOSCIUSKO COUNTY       57,541       46,287    80.4%
    Indiana    MONTGOMERY COUNTY      28,985       23,279    80.3%
    Indiana    DECATUR COUNTY         19,180       15,357    80.1%
    Indiana    MONROE COUNTY         115,503       92,234    79.9%
    Indiana    GREENE COUNTY          25,282       20,128    79.6%
    Indiana    HENRY COUNTY           38,418       30,516    79.4%



                                     PL-000091
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    Indiana    MIAMI COUNTY           28,510       22,516    79.0%
    Indiana    TIPPECANOE COUNTY     137,063      105,469    76.9%
    Indiana    CASS COUNTY            28,873       22,011    76.2%
    Indiana    JAY COUNTY             15,609       11,882    76.1%
    Indiana    PUTNAM COUNTY          29,967       22,799    76.1%
    Indiana    ADAMS COUNTY           23,673       17,885    75.6%
    Indiana    STEUBEN COUNTY         26,350       19,532    74.1%
    Indiana    LAGRANGE COUNTY        24,322       15,132    62.2%
    Indiana    SHELBY COUNTY          33,591       15,217    45.3%




                                     PL-000092
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 33 of 147 PageID #: 397




                               APPENDIX EXHIBIT 3

           U.S. ELECTION ASSISTANCE COMMISSION REPORT (EXCERPTS)
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 34 of 147 PageID #: 398
            U. S. ELEC TION A SSI STA NC E C OM M ISSION




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                                                                                                    TES OF




                                      The Impact of the National Voter Registration Act of 1993 on
                                         the Administration of Elections for Federal Office 2009-2010

                                                         A Report to the 112th Congress June 30, 2011




                                     PL-000107
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 35 of 147 PageID #: 399




     The Impact of the National Voter Registration Act of 1993 on the
        Administration of Elections for Federal Office 2009–2010
                            A REPORT TO THE 112 TH CONGRESS




                                      PL-000108
T HE IMPAC T OF T HE N AT ION A L VO T E R REGIS T R AT ION AC T, 2 0 0 9 – 2 010
                                         Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 36 of 147 PageID #: 400

 2010 Election Administration and Voting Survey                                                                                                              The “R” column indicates the inclusion of Active/Inactive voters in the Reported Registration;
 Table 1c. Registration Rates for Voting Age Population (VAP) Using Different Registration Bases                                                             see footnotes.

                                                            Reported Registration                           Active + Inactive           Active Only
                                                  (VAP)
                                              Estimated                                                    Active +
                                             Voting Age         Reported       Report. Reg.   Ranking of    Inactive   Ranking of Active Only   Ranking of
 State                    Year       R       Population       Registration       % of VAP      % of VAP    % of VAP     % of VAP    % of VAP     % of VAP

 Alabama                   2010      C         3,647,277          2,964,070            81.3          27         81.3            27       70.9          30
                                                                                                                                                             This table indicates how the registration rate, that is, the percentage of the voting age population that are
 Alaska                    2010     A                                                 107.1           1        107.1             1       94.6           2    registered, may vary by the way each State reports its “total” registration number.
                                                 522,853           560,146
                                                                                                                                                             The methods vary because some States report only active voters and some report a combination of active
 Arizona                   2010     A          4,763,003          3,502,743            73.5          41         73.5            41       66.1          38    and inactive as their “total” registration.
 Arkansas                  2010      C         2,204,443          1,638,135            74.3          38         74.3            39       60.2          44    The first section of this table reports the method used by the State to report their registration for 2010.

 California                2010     A         27,958,916        17,299,347             61.9          48         84.6            21       61.9          43    An “A” indicates that the “total” registration reported includes active voters only.

 Colorado                  2010      C                                                 86.6          15         86.6            14       65.1          39    A “C” indicates that the “total” registration reported includes a combination of active and inactive voters.
                                               3,803,587          3,293,942
                                                                                                                                                             An “O” indicates that the state either allows local jurisdictions to determine whether to include the
 Connecticut               2010      C         2,757,082          2,150,633            78.0          35         78.0            36       73.5          25    inactive voters, or the state uses some other method.
 Delaware                  2010      C           692,169           623,425             90.1          10         90.1            11       87.2           6    The section entitled “Reported Registration” provides information on the registration rate for the reported
                                                                                                                                                             registration.
 District of Columbia      2010      C           500,908           512,897            102.4           2        102.4             2       90.8           5
                                                                                                                                                             The section entitled “Active + Inactive” provides information on the registration rate for a combined total.
 Florida                   2010      C        14,799,219        12,551,969             84.8          21         84.8            20       75.9          19
                                                                                                                                                             The section entitled “Active Only” provides information on the registration rate for active voters only.
 Georgia                   2010      C         7,196,101          5,748,459            79.9          30         79.9            30       69.9          34    States with partial data (…) are not given a rank.

 Hawaii                    2010      C         1,056,483           692,745             65.6          46         65.4            46       57.3          45

 Idaho                     2010     A          1,138,510           790,531             69.4          44         69.4            44       69.4          36

 Illinois                  2010     O          9,701,453          8,542,397            88.1          13         88.1            13       76.8          17

 Indiana                   2010      C         4,875,504          4,329,977            88.8          12         88.8            12       86.1           8

 Iowa                      2010      C         2,318,362          2,116,170            91.3           8         91.3             8       85.6           9

 Kansas                    2010      C         2,126,179          1,725,012            81.1          28         81.1            28       74.3          22

 Kentucky                  2010     A          3,315,996          2,885,775            87.0          14         91.2             9       86.9           7

 Louisiana                 2010      C         3,415,357          2,935,062            85.9          16         85.9            15       79.4          13

 Maine                     2010      C         1,053,828          1,028,501            97.6           4         97.6             4       93.4           3

 Maryland                  2010     A          4,420,588          3,468,287            78.5          33         78.5            33       78.5          15

 Massachusetts             2010      C         5,128,706          4,121,180            80.4          29         80.4            29       71.8          27

 Michigan                  2010      C         7,539,572          7,276,237            96.5           5         96.5             5       96.5           1

 Minnesota                 2010     A          4,019,862          3,220,844            80.1          …          80.1            …        80.1          …

 Mississippi               2010     O          2,211,742          1,978,463            89.5          11         78.2            35       73.5          26

 Missouri                  2010      C         4,563,491          4,137,495            90.7           9         90.7            10       80.5          12

 Montana                   2010      C           765,852           651,335             85.0          20         85.0            19       71.8          28




                                                                                                                           PL-000109

3 2 • A REPOR T TO T HE 112 T H CONGRESS, JUNE 3 0, 2 011
T HE IMPAC T OF T HE N AT ION A L VO T E R REGIS T R AT ION AC T, 2 0 0 9 – 2 010
                                         Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 37 of 147 PageID #: 401

 2010 Election Administration and Voting Survey                                                                                                              The “R” column indicates the inclusion of Active/Inactive voters in the Reported Registration;
 Table 1c. Registration Rates for Voting Age Population (VAP) Using Different Registration Bases                                                             see footnotes.

                                                            Reported Registration                           Active + Inactive           Active Only
                                                  (VAP)
                                              Estimated                                                    Active +
                                             Voting Age         Reported       Report. Reg.   Ranking of    Inactive   Ranking of Active Only   Ranking of
 State                    Year       R       Population       Registration       % of VAP      % of VAP    % of VAP     % of VAP    % of VAP     % of VAP

 Nebraska                  2010      C         1,367,120          1,142,247            83.6          22         83.6            22       74.7           21
                                                                                                                                                             This table indicates how the registration rate, that is, the percentage of the voting age population that are
 Nevada                    2010     O                                                  67.6          45         67.4            45       54.7           46   registered, may vary by the way each State reports its “total” registration number.
                                               2,035,543          1,375,848
                                                                                                                                                             The methods vary because some States report only active voters and some report a combination of active
 New Hampshire             2010     A          1,029,236           945,341             91.8           7         91.8             7       91.8            4
                                                                                                                                                             and inactive as their “total” registration.
 New Jersey                2010      C         6,726,680          5,135,830            76.4          36         76.4            37       70.2           32   The first section of this table reports the method used by the State to report their registration for 2010.
 New Mexico                2010      C         1,540,507          1,147,177            74.5          37         74.5            38       69.3           37   An “A” indicates that the “total” registration reported includes active voters only.

 New York                  2010      C                                                 78.4          34         78.4            34       71.0           29   A “C” indicates that the “total” registration reported includes a combination of active and inactive voters.
                                              15,053,173        11,806,744
                                                                                                                                                             An “O” indicates that the state either allows local jurisdictions to determine whether to include the
 North Carolina            2010      C         7,253,848          6,207,093            85.6          17         85.6            16       79.4           14
                                                                                                                                                             inactive voters, or the state uses some other method.
 North Dakota              2010      X           522,720           522,720            100.0           3        100.0             3        0.0           47   The section entitled “Reported Registration” provides information on the registration rate for the reported
                                                                                                                                                             registration.
 Ohio                      2010     A          8,805,753          8,044,315            91.4          …          91.4            …        91.4           …
                                                                                                                                                             The section entitled “Active + Inactive” provides information on the registration rate for a combined total.
 Oklahoma                  2010      C         2,821,685          2,082,428            73.8          40         73.8            40       62.9           41
                                                                                                                                                             The section entitled “Active Only” provides information on the registration rate for active voters only.
 Oregon                    2010     A          2,964,621          2,068,798            69.8          43         69.8            43       69.8           35   States with partial data (…) are not given a rank.

 Pennsylvania              2010                9,910,224          8,220,759            83.0          24         83.0            24       75.7           20

 Rhode Island              2010      C           828,611           706,161             85.2          19         85.2            18       78.2           16

 South Carolina            2010     A          3,544,890          2,630,363            74.2          39         83.4            23       74.2           24

 South Dakota              2010     A            611,383           575,150             94.1           6         94.1             6       85.0           11

 Tennessee                 2010      C         4,850,104          3,952,404            81.5          26         81.5            26       74.3           23

 Texas                     2010               18,279,737        13,262,432             72.6          42         72.5            42       62.2           42

 Utah                      2010      C         1,892,858          1,500,305            79.3          31         79.3            31       70.7           31

 Vermont                   2010     O            496,508           439,333             88.5          …          83.6            …        77.8           …

 Virginia                  2010      C         6,147,347          5,032,135            81.9          25         81.9            25       76.8           18

 Washington                2010      C         5,143,186          4,066,517            79.1          32         79.1            32       70.0           33

 West Virginia             2010      C         1,465,576          1,216,023            83.0          23          0.0            48        0.0           48

 Wisconsin                 2010     A          4,347,494          3,709,229            85.3          18         85.3            17       85.3           10

 Wyoming                   2010     A            428,224           270,083             63.1          47         63.1            47       63.1           40

 American Samoa            2010     A                                16,124         ……..          ……..        ……..         ……..        ……..           ……..

 Guam                      2010     A                                52,821         ……..          ……..        ……..         ……..        ……..           ……..

 Puerto Rico               2010                2,822,494                            ……..          ……..        ……..         ……..        ……..           ……..

 Virgin Islands            2010                                                     ……..          ……..        ……..         ……..        ……..           ……..

 Sum of Above              2010              237,386,565       186,874,157             78.7                     80.7                     72.9


                                                                                                                           PL-000110

3 3 • A REPOR T TO T HE 112 T H CONGRESS, JUNE 3 0, 2 011
T HE IMPAC T OF T HE N AT ION A L VO T E R REGIS T R AT ION AC T, 2 0 0 9 – 2 010
                                         Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 38 of 147 PageID #: 402

 2010 Election Administration and Voting Survey                                                                                                       The “R” column indicates the inclusion of Active/Inactive voters in the Reported Registration; see
 Table 1d. Registration Rates for Citizen Voting Age Population (CVAP) Using Different Registration Bases                                             footnotes.

                                                            Reported Registration                        Active + Inactive         Active Only
                                                 (CVAP)                             Report.   Ranking   Active +     Ranking      Active    Ranking
                                              Estimated                               Reg.         of   Inactive          of        Only         of
                                             Voting Age         Reported              % of       % of      % of         % of       % of        % of
 State                     Year      R       Population       Registration           CVAP       CVAP       CVAP        CVAP        CVAP       CVAP

 Alabama                   2010      C         3,564,694          2,964,070            83.2        38       83.2             37     72.6         38
                                                                                                                                                      Notes
 Alaska                    2010     A            501,901           560,146            111.6         2      111.6              2     98.6          3   This table indicates how the registration rate, that is, the percentage of those citizens of voting age popula-
                                                                                                                                                      tion that are registered may vary both by the way each State reports the registration totals and by the
 Arizona                   2010     A          4,184,909          3,502,743            83.7        36       83.7             35     75.2         33   estimate of the universe of citizen voting age population (CVAP).
 Arkansas                  2010      C         2,132,908          1,638,135            76.8        43       76.8             42     62.2         46   The Bureau of the Census provides information from which an approximation of the CVAP may be obtained.

 California                2010     A         22,833,220        17,299,347             75.8        44      103.6              3     75.8         31   However, while the estimate of the total voting age population (VAP) is from the 2010 U.S. Census, the
                                                                                                                                                      corresponding information for the CVAP estimate lags behind due to the release schedule of the American
 Colorado                  2010      C         3,509,328          3,293,942            93.9        11       93.9             11     70.6         41   Community Survey (ACS), data periodically released by the Bureau.

 Connecticut               2010      C         2,538,490          2,150,633            84.7        33       84.7             33     79.8         21   The estimate for CVAP in this table has been derived from the most recent ACS data which is for the year
                                                                                                                                                      2009.
 Delaware                  2010      C           655,459           623,425             95.1         9       95.1              9     92.1          6
                                                                                                                                                      The rate of the total voting age that is a citizen is taken from the 2005-2009 5-year ACS data. It is applied to
 District of Columbia      2010      C           454,105           512,897            112.9         1      112.9              1    100.1          1   the 2010 VAP.
                                                                                                                                                      The first section of this table reports the method used by the State to report their registration for 2010.
 Florida                   2010      C        13,092,827        12,551,969             95.9         7       95.9              7     85.8         12
                                                                                                                                                      An “A” indicates that the “total” registration reported includes active voters only.
 Georgia                   2010      C         6,673,195          5,748,459            86.1        26       86.1             26     75.3         32
                                                                                                                                                      A “C” indicates that the “total” registration reported includes a combination of active and inactive voters.
 Hawaii                    2010      C           967,531           692,745             71.6        47       71.4             45     62.6         45
                                                                                                                                                      An “O” indicates that the state either allows local jurisdictions to determine whether to include the inactive
 Idaho                     2010     A          1,086,237           790,531             72.8        46       72.8             44     72.8         37   voters, or the state uses some other method.
                                                                                                                                                      The section entitled “Reported Registration” provides information on the registration rate for the reported
 Illinois                  2010     O          8,833,130          8,542,397            96.7         6       96.7              6     84.4         15
                                                                                                                                                      registration.
 Indiana                   2010      C         4,723,809          4,329,977            91.7        15       91.7             16     88.8          7   The section entitled “Active + Inactive” provides information on the registration rate for a combined total.
 Iowa                      2010      C         2,254,665          2,116,170            93.9        12       93.9             12     88.0          9   The section entitled “Active Only” provides information on the registration rate for active voters only.

 Kansas                    2010      C         2,027,651          1,725,012            85.1        31       85.1             31     78.0         26   States with partial data (…) are not given a rank.

 Kentucky                  2010     A          3,247,176          2,885,775            88.9        19       93.1             13     88.7          8

 Louisiana                 2010      C         3,344,987          2,935,062            87.7        22       87.7             21     81.1         19

 Maine                     2010      C         1,036,379          1,028,501            99.2         5       99.2              5     95.0          4

 Maryland                  2010     A          4,070,646          3,468,287            85.2        30       85.2             30     85.2         13

 Massachusetts             2010      C         4,683,075          4,121,180            88.0        20       88.0             19     78.7         23

 Michigan                  2010      C         7,269,331          7,276,237           100.1         4      100.1              4    100.1          2

 Minnesota                 2010     A          3,851,317          3,220,844            83.6       …         83.6             …      83.6         …

 Mississippi               2010     O          2,178,158          1,978,463            90.8        16       79.4             39     74.6         36

 Missouri                  2010      C         4,458,183          4,137,495            92.8        13       92.8             14     82.4         17

 Montana                   2010      C           757,986           651,335             85.9        27       85.9             27     72.5         39

 Nebraska                  2010      C         1,307,890          1,142,247            87.3        24       87.3             23     78.0         24

 Nevada                    2010     O          1,753,381          1,375,848            78.5        40       78.2             40     63.6         44

 New Hampshire             2010     A            998,027           945,341             94.7        10       94.7             10     94.7          5




3 4 • A REPOR T TO T HE 112 T H CONGRESS, JUNE 3 0, 2 011
T HE IMPAC T OF T HE N AT ION A L VO T E R REGIS T R AT ION AC T, 2 0 0 9 – 2 010
                                         Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 39 of 147 PageID #: 403

 2010 Election Administration and Voting Survey                                                                                                         The “R” column indicates the inclusion of Active/Inactive voters in the Reported Registration; see
 Table 1d. Registration Rates for Citizen Voting Age Population (CVAP) Using Different Registration Bases                                               footnotes.

                                                            Reported Registration                        Active + Inactive         Active Only
                                                 (CVAP)                             Report.   Ranking   Active +     Ranking      Active    Ranking
                                              Estimated                               Reg.         of   Inactive          of        Only         of
                                             Voting Age         Reported              % of       % of      % of         % of       % of        % of
 State                     Year      R       Population       Registration           CVAP       CVAP       CVAP        CVAP        CVAP       CVAP

 New Jersey                2010      C         5,943,613          5,135,830            86.4        25       86.4             24     79.4           22
                                                                                                                                                        Notes
 New Mexico                2010      C         1,422,325          1,147,177            80.7        39       80.7             38     75.0           35   This table indicates how the registration rate, that is, the percentage of those citizens of voting age
                                                                                                                                                        population that are registered may vary both by the way each State reports the registration totals and by the
 New York                  2010      C        13,218,007        11,806,744             89.3        18       89.3             18     80.8           20
                                                                                                                                                        estimate of the universe of citizen voting age population (CVAP).
 North Carolina            2010      C         6,849,752          6,207,093            90.6        17       90.6             17     84.0           16   The Bureau of the Census provides information from which an approximation of the CVAP may be obtained.

 North Dakota              2010      X           514,816           522,720            101.5         3        0.0             47      0.0           47   However, while the estimate of the total voting age population (VAP) is from the 2010 U.S. Census, the
                                                                                                                                                        corresponding information for the CVAP estimate lags behind due to the release schedule of the American
 Ohio                      2010     A          8,616,928          8,044,315            93.4       …         93.4             …      93.4           …    Community Survey (ACS), data periodically released by the Bureau.

 Oklahoma                  2010      C         2,710,457          2,082,428            76.8        41       76.8             41     65.4           42   The estimate for CVAP in this table has been derived from the most recent ACS data which is for the year
                                                                                                                                                        2009.
 Oregon                    2010     A          2,757,741          2,068,798            75.0        45       75.0             43     75.0           34
                                                                                                                                                        The rate of the total voting age that is a citizen is taken from the 2005-2009 5-year ACS data. It is applied to
 Pennsylvania              2010                9,611,626          8,220,759            85.5        29       85.5             29     78.0           25   the 2010 VAP.

                                                                                                            92.4             15     84.8           14   The first section of this table reports the method used by the State to report their registration for 2010.
 Rhode Island              2010      C           764,010           706,161             92.4        14
                                                                                                                                                        An “A” indicates that the “total” registration reported includes active voters only.
 South Carolina            2010     A          3,424,129          2,630,363            76.8        42       86.4             25     76.8           27
                                                                                                                                                        A “C” indicates that the “total” registration reported includes a combination of active and inactive voters.
 South Dakota              2010     A            602,163           575,150             95.5         8       95.5              8     86.3           11
                                                                                                                                                        An “O” indicates that the state either allows local jurisdictions to determine whether to include the inactive
 Tennessee                 2010      C         4,695,233          3,952,404            84.2        34       84.2             34     76.8           28   voters, or the state uses some other method.

                                                                                                            83.7             36     71.7           40   The section entitled “Reported Registration” provides information on the registration rate for the reported
 Texas                     2010               15,844,483        13,262,432             83.7        35
                                                                                                                                                        registration.
 Utah                      2010      C         1,766,056          1,500,305            85.0        32       85.0             32     75.8           30   The section entitled “Active + Inactive” provides information on the registration rate for a combined total.
 Vermont                   2010     O            486,687           439,333             90.3       …         85.2             …      79.4           …    The section entitled “Active Only” provides information on the registration rate for active voters only.

 Virginia                  2010      C         5,738,718          5,032,135            87.7        23       87.7             22     82.3           18   States with partial data (…) are not given a rank.

 Washington                2010      C         4,740,920          4,066,517            85.8        28       85.8             28     76.0           29

 West Virginia             2010      C         1,455,026          1,216,023            83.6        37        0.0             48      0.0           47

 Wisconsin                 2010     A          4,221,513          3,709,229            87.9        21       87.9             20     87.9           10

 Wyoming                   2010     A            419,530           270,083             64.4        48       64.4             46     64.4           43

 American Samoa            2010     A              ……..              16,124          ……..      ……..       ……..          ……..      ……..           ……..

 Guam                      2010     A              ……..              52,821          ……..      ……..       ……..          ……..      ……..           ……..

 Puerto Rico               2010                2,760,693                  0          ……..      ……..       ……..          ……..      ……..           ……..

 Virgin Islands            2010                    ……..                   0          ……..      ……..       ……..          ……..      ……..           ……..

 Sum of Above              2010              217,555,021       186,874,157             85.9                 88.1                    78.6




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                               APPENDIX EXHIBIT 4

              TRENT DECKARD DEPOSITION TRANSCRIPT (EXCERPTS)
                                                                                 1
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION
                              CASE NO. 1:12-cv-800-WTL-TAB


               JUDICIAL WATCH, INC.,                   )
               and TRUE THE VOTE,                      )
                                                       )
                            Plaintiffs,                )
                                                       )
               v.                                      )
                                                       )
               J. BRADLEY KING, et al.                 )
                                                       )
                            Defendants.                )



                            The deposition upon oral examination of

               TRENT R. DECKARD, a witness produced and sworn before

               me, Rachel L. Tookolo, a Notary Public in and for the

               County of Hamilton, State of Indiana, taken on behalf

               of the Plaintiffs at the Indiana Government Center,

               South Building, 302 West Washington Street, Conference

               Room 5, Indianapolis, Marion County, Indiana,

               commencing on the 29th day of May, 2013, pursuant to

               the Applicable Rules of Procedure with notice as to

               time and place thereof.



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                                                                                 406



          1    Q   In the past session.         Is that going to change

          2        voter list maintenance in your opinion going

          3        forward in the end?

          4    A   Well, that would -- that would presuppose that an

          5        agreement of the Co-Directors would not be able to

          6        be reached in certain cases.            And so I would

          7        assume that would not be the case because both

          8        Co-Directors are both bound to defend the

          9        Constitution of the United States and the State of

         10        Indiana, and to perform their duties.               However, I

         11        will say we have a long history of bipartisan

         12        election administration in Indiana that we cited

         13        earlier with Sammons v. Conrad where the Indiana

         14        Supreme Court has instructed us that it takes

         15        action of both Co-Directors to make a decision for

         16        the Election Division.          It's a little different

         17        when you have legislation that changes the process

         18        slightly, but I can certainly see where it might

         19        be a deviation from that.

         20    Q   Have the Co-Directors ever disagreed about these

         21        maintenance practices during your time in office?

         22    A   During my tenure, I cannot recall a specific

         23        proposal where we had an option and did not move

         24        forward.     I cannot recall that.

         25    Q   Did you ever recall if the Co-Directors disagreed
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                                                                                 407



          1        about a specific list maintenance procedure and

          2        memorialized the disagreement in a document and

          3        distributed it to county election officials?

          4    A   I do know that we have had disagreements on

          5        certain activities that have been documented in

          6        our Guidebook, yes.         I mean that's very well

          7        documented.

          8    Q   Ever disagree on a budgeting decision?

          9    A   We have had initial discussions where the

         10        Co-Directors expressed differences of opinions

         11        over program management features of the Statewide

         12        Voter Registration System and different

         13        philosophies on whether or not to use a

         14        contractor, or an in-house solution, and things

         15        like that.      However, I would note that we have,

         16        large in part, been able to reach agreement after

         17        discussion and consideration.

         18    Q   Tell me a little bit more about some of the

         19        election integrity, list maintenance measures that

         20        the most recent legislation accomplishes.                Do you

         21        remember if it -- if the legislation does anything

         22        about Indiana's participation in the Interstate

         23        Crosscheck Program?

         24                            MR. JEFFERSON GARN:         Can we just

         25        make sure we're clear when we're talking about --
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          1    A   I cannot recall any discussion like that.

          2    Q   Could you flip to the next page of this exhibit

          3        for me?

          4    A   Sure.     (Witness complies.)

          5    Q   We're going to Interrogatory No. 4 and Response

          6        No. 4.     If you could just read those to yourself

          7        very quickly for me to refresh your memory.

          8    A   (Witness complies.)         Okay.    I have read it.

          9    Q   Thank you.      Could you tell me a little bit about

         10        this?     As I understand this response, Indiana

         11        counties are required to file an affidavit to the

         12        Election Division certifying that they've

         13        performed voter list maintenance; is that correct?

         14    A   That is correct.

         15    Q   And when are they required to file those

         16        affidavits under this Indiana Code, Section 7?

         17                            MR. JEFFERSON GARN:         Objection to

         18        the extent that it calls for a legal conclusion.

         19    Q   You can answer if you understand the question.

         20    A   I'm afraid I could not answer that specificity to

         21        it without consulting Indiana Code and counsel on

         22        that.

         23    Q   So if I understand this answer correctly, within

         24        the past 365 days of these answers, which were in

         25        the past few months, you received four affidavits
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                                                                                 409



          1        from Indiana counties concerning this voter list

          2        maintenance certification; is that right?

          3    A   That is correct.

          4    Q   And since you've been in office starting in 2011,

          5        how many of these affidavits have you received?

          6    A   I could not speak to that at this time.                I don't

          7        recall the answer.

          8    Q   I think you're one of the experts on this subject,

          9        one the designated witnesses for the State.                 Does

         10        that mean the State doesn't know?

         11    A   The State does know.         What I'm saying at this

         12        point I don't want to offer you a number and be

         13        incorrect upon that number.            And I also would note

         14        that as we noted in our answer that with changing

         15        technology and changing ways that counties do

         16        their business, we would probably -- they would be

         17        defining voter list maintenance as daily routines

         18        that they do, and so therefore the form has not

         19        kept time with the activity.

         20                            MR. JEFFERSON GARN:         And I would

         21        just add as an objection, there was -- in the

         22        Notice, there wasn't any particular request for

         23        specific statistics or numbers.             If you want

         24        those, there are ways to ask that and we can get

         25        that for you.
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                                                                                 410



          1                            discussion was held off the

          2                            record.)

          3    DIRECT EXAMINATION (Continuing),

          4    QUESTIONS BY MR. CHRIS FEDELI:

          5    Q   So tell me what you know about these county

          6        affidavits of performance and voter list

          7        maintenance other than what you've already told

          8        me.

          9    A   Sure.     The county files that on completion of

         10        voter list maintenance activity indicating to the

         11        Election Division that they have accomplished

         12        that, putting it on the record.

         13    Q   And you know that four have been filed.                You're

         14        not really sure how many others have been filed;

         15        is that what you said?

         16    A   Yes.     I believe the answer would be that we have

         17        received one additional, but I again want a note

         18        that I would need to follow up to get a -- more

         19        specificity for you all.

         20    Q   So your understanding -- understand with your

         21        qualifications that the counties -- since 2011,

         22        you have not seen too many of these; is that

         23        right?

         24    A   Yes, that would be correct.

         25    Q   And when was the first time you became aware that
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                                                                                 411



          1        we're clear.

          2    A   Yeah.

          3    Q   Please answer.

          4    A   Well, I started this position in January and began

          5        attending and speaking at clerks conferences

          6        throughout 2011 and 2012.           I would -- from my best

          7        recollection, my first clerks conference I believe

          8        would have been in March when I started in this

          9        position, and so we continue those throughout the

         10        year, and I would recall that we discuss voter

         11        list maintenance throughout each of those in some

         12        portion or part.

         13    Q   And when did you -- was this March of 2011?

         14    A   March of 2011 would be when I would start talking

         15        about --

         16    Q   So that's when you first became aware that the

         17        county officials were not filing these affidavits?

         18    A   No.     It would --

         19    Q   When did you first become aware that county

         20        officials were not filing these affidavits, or not

         21        most of these counties anyway?

         22    A   I would say that I -- we had noticed in the summer

         23        of 2011 that we were not receiving these documents

         24        as I noted.      All but various documents we would

         25        receive; this is one that we would not receive.
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                                                                                 412



          1    Q   And who in particular did you speak to about this

          2        when you noticed this in the summer of 2011?

          3    A   I don't recall speaking to anyone specifically

          4        other than indicating to Mr. King that as we

          5        continued on doing -- preparing for clerks

          6        conferences and training -- including the Indiana

          7        Voter Registration Association, which holds their

          8        conference -- that we needed to include our voter

          9        registration activities, which we agreed, which we

         10        do.

         11    Q   You discussed this with Mr. King.              And did you

         12        decide to take any action or response to you and

         13        Mr. King learning that the counties were not

         14        filing these affidavits?

         15    A   We just continued to do our education and to

         16        stress the law of Indiana, and that's the county

         17        should always be entering into that continuing --

         18    Q   And did you communicate to the counties that they

         19        needed to file these affidavits of performance of

         20        voter list maintenance?

         21    A   That is correct.

         22    Q   Did you specifically personally -- yourself?

         23    A   No, I did not.

         24    Q   Who in your office did?

         25    A   Well, it's part of their activity that they have
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                                                                                 413



          1        to do.     It's a form that they receive each annual

          2        conference on -- the form that we distribute.                  I

          3        would need to locate it in our Voter Registration

          4        Guidebook.      I can't do that specifically right

          5        now, but it would be part of what they would be

          6        required to do, and based on the code.

          7    Q   So the form is distributed, the code is in the

          8        law.     Was anything else done to communicate to the

          9        counties that they needed to file these

         10        affidavits?

         11    A   Not to my recollection.

         12    Q   Okay.     In your capacity as Co-Director of the

         13        Indiana Election Division, are you, along with

         14        your Co-Chair, responsible for ensuring that

         15        Indiana meets the legal requirements of Section 8

         16        of the National Voter Registration Act?

         17    A   Speaking for my half of the Division, I believe

         18        that the Co-Directors, working with the counties,

         19        are required to make sure that we are performing

         20        our voter registration activities required under

         21        NVRA, yes.

         22    Q   So do you believe that you and the Co-Director are

         23        responsible for complying with Section 8 of NVRA

         24        for the State of Indiana?

         25    A   That I believe that we are responsible for
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                                                                                 414



          1        addition to -- in the Quest portion, we have an

          2        on-site trainer that goes to counties, helps them,

          3        assists them with the various processes associated

          4        with SVRS including funds to help her do that

          5        duty -- and specifically, that's sort of the large

          6        component.      Much of that -- well, a portion of

          7        that I should say, is also the security of the

          8        system, which is held by a firm called Terremark

          9        in Texas out of the state.

         10    Q   So Terremark, they're another vendor related to

         11        SVRS?

         12    A   They are -- I believe the correct term would be a

         13        subcontractor of Quest that holds the information

         14        from Quest -- or holds the -- the system.

         15    Q   Okay.    You mentioned earlier that counties can do

         16        mailings also under Indiana law?

         17    A   That is correct.

         18    Q   In your -- in your post, do you know whether

         19        counties have been doing those mailings?

         20    A   I do know that counties do do the mailings, that

         21        they conduct those, and that they often talk with

         22        the Election Division and our staff about various

         23        components of it.

         24    Q   Does someone in your office keep track of which

         25        counties have done it and which counties haven't
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                                                                                 415



          1        done it?

          2    A   We maintain conversations with them and could

          3        recall specific lists.          We do not maintain a list

          4        as "these are the counties that have done it."                  We

          5        can check, if you want.

          6    Q   So various people in your office would have that

          7        knowledge and could probably generate a list of

          8        which counties have done the mailings within the

          9        past two years?

         10    A   Yes, I believe they could.

         11    Q   And what's your office policy for whether

         12        counties -- from when counties fail to do this

         13        mailing?     Do you increase communications with

         14        them?

         15                            MR. JEFFERSON GARN:         Objection to

         16        the form of the question.           It's not clear what you

         17        mean by "fail".

         18    Q   If a county hasn't done a mailing in, say, four

         19        years, what kind of action will that trigger on

         20        your part?

         21    A   Well, I've only been here for two, but what I can

         22        tell you that what we regularly do is educate our

         23        counties on our requirements, we update our -- our

         24        Registration Guidebook and we distribute that

         25        along with all of our forms and Guidebooks, and we
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                                                                                 416



          1        do PowerPoint presentations through our December

          2        clerks conference, as well as conferences

          3        throughout the year educating them on voter list

          4        maintenance activities.          One of the large portions

          5        that we do is when new laws are passed such as

          6        this session, we're literally deciphering

          7        everything that's come out of the session.                 So our

          8        staff will take that information, we will work

          9        together -- both sides of the Division -- to get

         10        agreed upon interpretation of the code that the

         11        General Assembly has given us -- and we're in that

         12        process now -- and then pass that to the counties

         13        so that they can be aware of changes.

         14    Q   So those are communications with all 91 Indiana

         15        counties -- conferences, distribution of memos?

         16    A   There are 92 counties.

         17    Q   Sorry, 92 counties.

         18    A   (An affirmative nod.)

         19    Q   Will you ever have conversations either written or

         20        oral by anybody in your office directly with

         21        individual counties concerning -- initiated by

         22        your office concerning the fact that they've not

         23        done a mailing in four years, two years?

         24    A   I would indicate that we would always be messaging

         25        that they have to be doing these activities.                 I
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                                                                                 417



          1        cannot recall a specific example of where myself

          2        or a staff member of mine has specifically reached

          3        out to a county and instructed, nor a time when,

          4        as Co-Directors, we deviated from our education

          5        and said specifically "blank county, you must -- "

          6        I don't recall.

          7    Q   So if you can't recall, I mean it's probably --

          8        it's not -- you'd say it's not the policy of the

          9        Election Division to initiate those kind of

         10        communications?

         11    A   Not that type, no.

         12    Q   And why is that not your policy?             What thinking

         13        went into --

         14                            MR. JEFFERSON GARN:         Objection.      I

         15        think we're getting into a deliberate process here

         16        and I --

         17                            MR. CHRIS FEDELI:        Noted.

         18    Q   Can you answer the question?            Do you understand

         19        the question?

         20                            MR. CHRIS FEDELI:        I'm sorry?

         21                            MR. JEFFERSON GARN:         You can go

         22        ahead and answer.

         23    A   What I will say is -- and allow me -- voter list

         24        maintenance, voter registration maintenance is a

         25        continuing process that -- that must always be in
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                                                                                 418



          1        a cycle of occurring.          It cannot be and should not

          2        be generated around a phenomenon, whether that is

          3        an election result, or a perception of an error,

          4        or something; a county should always been involved

          5        in that process.        And so that is the message we

          6        carry to all of our counties, that they have to

          7        continue to conduct voter list maintenance

          8        activities all -- all cycle long, year-round.

          9    Q   And when did you first become aware that certain

         10        counties in Indiana had voter registration rolls

         11        that exceeded either 90 or 100 percent of the

         12        total age of the voting population in those

         13        counties?

         14    A   I believe you all raised the issue with us, so

         15        whenever that was initiated.

         16    Q   So that would be when you got the letter from

         17        Plaintiffs in this lawsuit?

         18    A   Right.     And you're referring --

         19    Q   So in February --

         20    A   You're referring to census data comparisons to

         21        voter registration rolls.

         22    Q   So the census data compared to Election

         23        Administration Commission data, that would -- that

         24        would be the comparison?

         25    A   Yes.
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                                                                                 419



          1    Q   So in February --

          2                            MR. CHRIS FEDELI:        Can we take a

          3        quick break really quick off the record?

          4                            (A short break was taken.)

          5    Q   So you first found out the counties exceeded the

          6        total voting age population based on census data

          7        and Election Assistance Commission data in

          8        February of 2012 when you got Plaintiffs' letter,

          9        correct?

         10    A   Yes.

         11    Q   So you didn't -- you hadn't been monitoring any of

         12        that data prior to February of 2012 in your

         13        office?

         14    A   We -- one of the other capacities of the

         15        Co-Directors and the Election Division as a whole

         16        is we do maintain precincts for the State of

         17        Indiana, and so we work very closely through our

         18        Precinct Coordinator through -- with the Office of

         19        Census Data which assists the General Assembly

         20        through the Legislative Services Agency.                So we

         21        always are monitoring census data for those

         22        purposes, but specifically with -- in relation to

         23        voter list maintenance, that's not a correlation

         24        for us, so to speak, because you have apples and

         25        oranges of information comparison.
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          1    A   Oh, I'm sorry.       I was referring to SAVE.

          2    Q   Okay.    So then going back to the -- so I

          3        understand the question you just gave was in

          4        response to the DHS SAVE Database?

          5    A   Yes.    I apologize.

          6    Q   That's okay.       And how about the U.S. Social

          7        Security Administration's Social Security Index

          8        for records on deaths?          Are you familiar with

          9        that?    Have you heard of it?

         10    A   Yes.

         11    Q   Okay.    And do you know how much it costs to obtain

         12        that database?

         13    A   I do not.

         14    Q   Have you investigated whether the State of Indiana

         15        might be able to obtain it?

         16    A   Only explored the Program as a whole.

         17    Q   And in your exploration, what did you find out

         18        about the Social Security Administration's Death

         19        Database?

         20    A   Just general information and -- on the Program and

         21        how it is implemented.

         22    Q   And did you ever consider obtaining that list for

         23        use by the Indiana Election Division to ensure the

         24        voter rolls for the state are accurate?

         25    A   That's always a consideration.
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          1    Q   And when did you consider it, specifically?                 When

          2        you took your job in January of 2011 when would

          3        you say the first time you considered it was?

          4    A   As the concept came into my vision as I was

          5        getting up to speed on our possibilities, I would

          6        say the summer of 2011 is when discussions and

          7        thoughts like that would have entered into the --

          8        into my field.

          9    Q   Did you ever talk to Brad King about it?

         10    A   No.    I have talked to his counsel more

         11        specifically.       I do recall asking him about

         12        success with the Program in the past.

         13    Q   And what did his counsel say about whether it was

         14        something had the State should obtain?

         15    A   He didn't say whether or not the State should

         16        obtain it.      He serves as a counsel and it was just

         17        a side conversation.         He just mentioned that it

         18        had been done before and -- it had been something

         19        that we had done.

         20    Q   And what do you think?          Is it something the State

         21        should obtain for the purposes of doing voter list

         22        maintenance?

         23    A   I think it's something the State should definitely

         24        explore.

         25    Q   Why didn't you do it?
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          1    A   I'm not saying that I would not have done it; I'm

          2        saying that I was not at that point yet.                It's

          3        obviously every consideration we have and how we

          4        supplement our voter list maintenance --

          5        everything available to us is always a

          6        consideration.

          7    Q   I don't understand what considerations you might

          8        have about the -- obtaining the list from the

          9        federal government of people who are dead.

         10    A   Well, anytime that you are obtaining, again

         11        anything, that is called the Social Security Death

         12        Index and that you are distributing that to your

         13        counties and carrying that out, you have to think

         14        about every consideration with that -- both public

         15        information and both information that you provide

         16        to your clerks so it can best be implemented.

         17    Q   So public information -- people that have passed

         18        away, dead people -- that's not private

         19        information, is it?

         20    A   I couldn't speak to that.           I apologize.

         21    Q   But you've investigated it and -- if you had

         22        investigated it, you would have found out whether

         23        that was a concern or not, right?

         24    A   It's always a consideration for this Program.                  I

         25        don't know that I can answer your question.
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          1    Q   So -- so you didn't obtain this list anytime since

          2        you started working at the division in 2011,

          3        correct?

          4    A   That is correct.

          5    Q   And why didn't you?

          6    A   We had not reached that point yet.

          7    Q   What does that mean?

          8    A   We had not reached a point of obtaining it,

          9        entering into this, and carrying it out with our

         10        counties.

         11    Q   That's not an explanation; that's just another way

         12        of saying you haven't done it.             Why haven't you

         13        done it?

         14    A   That's my answer.        I'm sorry that it's not the one

         15        you like.

         16    Q   So you can't explain why you haven't done it?

         17    A   I'm saying that it is an consideration and a

         18        deliberation that the Co-Directors have to

         19        maintain as part of our voter list maintenance

         20        discussion.

         21    Q   It sounds like -- it sounds like -- it makes it

         22        sound like voter list maintenance was a very low

         23        priority for you; is that the case?

         24    A   No.

         25                            MR. JEFFERSON GARN:         Objection,
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          1        argumentive.

          2                            MR. CHRIS FEDELI:        Your objection

          3        is noted.      He answered "No."

          4    DIRECT EXAMINATION (Continuing),

          5    QUESTIONS BY MR. CHRIS FEDELI:

          6    Q   So you don't really know what the cost of the

          7        program is; you investigated it, but you really

          8        couldn't give me a good reason why you might have

          9        technical or legal considerations with obtaining

         10        it, yet you haven't done it; is that your

         11        testimony?

         12    A   That is correct.

         13    Q   And you think that's reasonable?

         14    A   I think it's reasonable.

         15    Q   How often do you obtain the National Change of

         16        Address Database maintained by the U.S. Post

         17        Office?

         18    A   I couldn't specifically answer that at this time.

         19    Q   Have you ever obtained it?

         20    A   I cannot specifically answer that at this time.                     I

         21        need to consult notes and actions of the agency.

         22    Q   And wasn't this one of the topics that we provided

         23        for you in the Deposition Notice?

         24                            MR. JEFFERSON GARN:         I'm sorry,

         25        could you repeat your first question?
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          1    DIRECT EXAMINATION (Continuing),

          2    QUESTIONS BY MR. CHRIS FEDELI:

          3    Q   Okay.    This is a 2009 document.           If you don't

          4        know, that's fine.         But do you -- do you know

          5        whether Indiana participated in this NASS Report?

          6    A   I could not speak to the action of my predecessor

          7        because I was not here.

          8    Q   You don't know; is that correct?

          9    A   I don't know.

         10    Q   All right.      If you can flip to the next page --

         11        it's 33 in the upper right-hand column.                I'd like

         12        to jump down to the bottom in bold -- "Obtaining

         13        the Names of Voters Who Are Deceased or Convicted

         14        of a Crime".       Could you read that paragraph to

         15        yourself, please?

         16    A   Under "Obtaining the Names of Voters"?

         17    Q   Yes, it's under that bold section.              Please read

         18        that paragraph for me.

         19    A   (Witness complies.)         Okay.

         20    Q   Do you believe this is a correct statement of the

         21        law in the State of Indiana?

         22    A   I do.

         23    Q   So as far as you know, the State Department of

         24        Health is required to negotiate with the

         25        appropriate agencies in other states to acquire
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          1        information regarding the deaths of Indiana

          2        residents there; is that correct?

          3    A   As far as I know, yes, with the Department of

          4        Health.

          5    Q   And the State Department of Health may offer to

          6        share information regarding the deaths of the

          7        other state's residents with in Indiana, that's

          8        correct?

          9    A   That is correct.

         10    Q   Do you supervise the State Department of Health's

         11        efforts to comply with these election laws?

         12    A   I do not.

         13    Q   Do you coordinate or conduct the State Department

         14        of Health's efforts to make sure Indiana complies

         15        with Section 8 of the National Voter Registration

         16        Act?

         17    A   We serve, as we do to the counties, as a resource

         18        for every state agency that interacts with voter

         19        registration and election law.

         20    Q   So you really don't coordinate or supervise the

         21        State Department of Health; is that what you're

         22        saying?

         23    A   No, I do not coordinate or supervise the State

         24        Department of Health.

         25    Q   So do you know if they've reached out to any other
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          1        states for information for people who have died

          2        out of state?

          3    A   I could not speak directly to it.

          4    Q   And do you know whether they've offered to share

          5        any of their information with any other states

          6        regarding deaths of people who might be on their

          7        voter rolls?

          8    A   I do not.

          9    Q   Have you ever asked?

         10    A   I've not asked that specific question to the

         11        Department of Health.

         12    Q   And we spoke earlier about the U.S. Department of

         13        Homeland Security's SAVE Database, and you

         14        mentioned that that's not something the State has

         15        ever obtained, correct?

         16    A   To my knowledge, during my term it has -- never in

         17        my term, but to my knowledge prior to my service I

         18        do not believe that it has ever.

         19    Q   And would it be fair to say --

         20    A   I don't believe it was available, but I may be

         21        speaking out of turn.

         22    Q   But based on your testimony earlier, would it be

         23        fair to say that you had very serious concerns

         24        with obtaining that information?

         25    A   The concern is I would want the legislature to
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          1    A   I've heard that phrase.          But I --

          2    Q   What does it --

          3    A   -- don't press charges.          I'm an election

          4        administrator.

          5    Q   What does that the phrase mean?

          6    A   I -- I -- I assume to charge someone with an

          7        allegation.      But see, I don't charge people with

          8        allegations; a prosecutor would do that.

          9    Q   Okay.    But as we discussed -- I'm just going to

         10        recap something you already said -- you could talk

         11        to prosecutors about crimes that have been

         12        committed by a county's violations of the law,

         13        what have you, if you wished, correct?

         14    A   If I were a witness to a crime of any sort --

         15        mugging of me or voter list maintenance, I expect

         16        I probably would.

         17                            MR. CHRIS FEDELI:        Okay, marking

         18        Exhibit 9.

         19                            (Exhibit 9 was marked for

         20                            identification.)

         21    Q   This is the written plan for compliance with

         22        Consent Decree -- a letter from J. Bradley King

         23        and Pamela Potesta to Ms. Mi Yung Claire Park with

         24        the United States Department of Justice,

         25        February 29, 2008.         Mr. Deckard, have you ever
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          1        seen this before?

          2    A   I believe that I have but I cannot recall when.

          3    Q   Okay.     Do you know what this is, in general?

          4    A   This -- though I was not there, I will state for

          5        the record -- was our consent -- part of our

          6        Consent Decree with the United States Department

          7        of Justice in February 2008, according to the

          8        letter.

          9    Q   Okay.     And what was -- what was that Consent

         10        Decree concerning?

         11    A   If I understand correctly anecdotally, it was

         12        related to voter list maintenance activities.

         13    Q   And the State agreed to comply with some set of

         14        obligations in order to settle that lawsuit; is

         15        that correct?

         16    A   I believe that's what this states, yes.

         17    Q   Turn to Page 2 of this document.

         18    A   (Witness complies.)

         19    Q   And I want to go to the second-to-last paragraph,

         20        starting "Beginning in March 2008".              Would you

         21        mind reading that and the last paragraph for me

         22        real quick?

         23    A   (Witness complies.)         Okay.

         24    Q   What's this describing?

         25    A   It is part of the Consent Decree describing
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          1        actions that would be required to be taken in a

          2        Compliance Plan by the Indiana Election Division

          3        as part of the settlement.

          4    Q   And this particularly talks about a monthly report

          5        by the Department of Health concerning processing

          6        death hopper items sent to the county; is that

          7        right?

          8    A   It does.

          9    Q   And do you know if this was -- if this was done

         10        following the delivery of this Consent Decree, if

         11        these monthly reports were performed as specified

         12        here?

         13    A   I was not Co-Director following the Consent

         14        Decree, so I would not be able to speak to the

         15        action taken at that time.

         16    Q   So does that mean you don't know?

         17    A   I do not.

         18    Q   Do these reports currently get made on a monthly

         19        basis since your tenure as Co-Director?

         20    A   I do not believe so, no.

         21    Q   And the purpose of this is oversight of the

         22        counties to make sure that they're complying with

         23        list maintenance; is that right?

         24    A   Yes.

         25    Q   Okay.    I'd like to turn to the next page, Page 3.
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          1        And the second and third paragraph here, please go

          2        ahead and read that quickly for me.

          3    A   (Witness complies.)         Okay.

          4    Q   And is this describing another kind of report

          5        similar to the one we just talked about?

          6    A   It would seem so, yes.

          7    Q   And what kind of report is this describing?

          8    A   One that determines duplicates and reports that to

          9        the county for potential action and judgment as we

         10        were talking about earlier.

         11    Q   It also has to do with the Department of

         12        Corrections; is that right?

         13    A   As I understand -- you're on Page 3, correct?

         14    Q   Correct.     Page 3, paragraph two and three.

         15    A   Oh, I'm sorry.       I was at the bottom.          I'm sorry.

         16        My bad.

         17                            MR. JEFFERSON GARN:         That's what he

         18        said.

         19                            MR. CHRIS FEDELI:        Did I say --

         20                            MR. JEFFERSON GARN:         Yeah.

         21                            MR. CHRIS FEDELI:        Okay.      I'm

         22        sorry.

         23                            THE WITNESS:       I was like that I've

         24        not seen.

         25
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          1    DIRECT EXAMINATION (Continuing),

          2    QUESTIONS BY MR. CHRIS FEDELI:

          3    Q   Well actually, let's -- okay.            Let's just take a

          4        look at where you were at.           There -- so there was

          5        also an issue of duplicates, and it would

          6        appear -- and if we skip ahead to Page 4 now --

          7        that there was a monthly report being generated to

          8        detect duplicates; is that right?              And I'm talking

          9        about the second paragraph of Page 4.

         10    A   Assuming -- I was not there at that time.

         11    Q   Right.     So this was something that was written in

         12        the Compliance Plan -- a monthly plan concerning

         13        processing of duplicates in SVRS.              Is -- is that

         14        right based on what you're reading?

         15                            MR. JEFFERSON GARN:         Can we just

         16        make it clear what -- what -- what paragraphs are

         17        we talking about?

         18                            MR. CHRIS FEDELI:        Okay.     So now we

         19        are on Page 4, second paragraph, and also the

         20        paragraphs that you were reading which were at the

         21        bottom of Page 3 and continues over.

         22                            MR. JEFFERSON GARN:         So the -- the

         23        last full paragraph and then the paragraph in a

         24        continues onto Page 3 to 4?

         25                            MR. CHRIS FEDELI:        And the second
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          1        paragraph on Page 4, correct.

          2                            MR. JEFFERSON GARN:         And I don't

          3        know if he had read that.

          4                            THE WITNESS:       So I think I've done

          5        what I was supposed to:          I read the bottom two and

          6        the top two.

          7                            MR. CHRIS FEDELI:        Yes, that's

          8        right.

          9    A   Yes, I -- I've seen that.           Yeah.

         10    DIRECT EXAMINATION (Continuing),

         11    QUESTIONS BY MR. CHRIS FEDELI:

         12    Q   Okay.    Are monthly reports concerning duplicate

         13        processing by SVRS by the counties -- have those

         14        been done since you've been Co-Director?

         15    A   I do not believe that they have been the whole

         16        time that I've been Co-Director.

         17    Q   And now let's go back up on Page 3 to the second

         18        and third paragraph.         Could you read those for me

         19        really quickly?

         20    A   Okay.    Now, we're on DOC again?

         21    Q   Department of Corrections, right.

         22    A   (Witness complies.)         Okay.

         23    Q   And this describes monthly reports concerning

         24        processing of DOC hopper items by county; is that

         25        right?
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          1    A   It would -- yes, it would appear to.

          2    Q   And is that something that's been done -- monthly

          3        reports monitoring the counties -- during your

          4        tenure?

          5    A   I do not believe that monthly reports for this

          6        exist any longer, but I would say that we are

          7        communicating with the DOC, and DOC is

          8        communicating for our counties.

          9    Q   Do you communicate with DOC directly from your

         10        office or do you go through Baker Tilly?

         11    A   Well, we do both, actually.            We've had

         12        communication -- or at least I had an inquiry

         13        based on a constituent call related to DOC

         14        sometime around the election in which it appeared

         15        that DOC was not clear on registration procedures.

         16        I had that, but Baker Tilly would communicate with

         17        them regarding hoppers.

         18    Q   I'd like to turn to Page 7 of this document and

         19        look at that last paragraph for a second.                Take a

         20        quick look at that for me.           The one that starts

         21        with "As a result, the Co-Directors will" -- and

         22        then that runs onto Page 8 -- it's a continued

         23        paragraph.      Can you read that for me, too?

         24    A   (Witness complies.)

         25    Q   Let's talk about this for a second.
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          1    A   Sure.

          2    Q   What does this -- starting with the first sentence

          3        there.     What are the Co-Directors agreeing to do

          4        there?

          5    A   The Co-Directors are agreeing to compare

          6        information from SVRS reports regarding active and

          7        inactive voters within each county and other data

          8        provided by federal or state agencies, such as the

          9        U.S. Census Bureau's population estimates, to

         10        determine if there may be a significant problem

         11        with the accuracy with the voter registration

         12        lists.

         13    Q   So comparison of SVRS reports regarding active and

         14        inactive voters like the United States Census

         15        Bureau's population estimates, and the purpose of

         16        doing this was to determine whether counties are

         17        complying with list maintenance; is that right?

         18    A   I believe that's why the Co-Directors at that time

         19        entered into that, yes.

         20    Q   And these SVRS reports regarding the active and

         21        inactive voters within each county, this is

         22        something that you can access, correct, from your

         23        Division?

         24    A   We should be able to, yes.

         25    Q   And you can pull that up at any time as a snapshot
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          1        on a given day -- how many voters on your active

          2        list, how many voters on an inactive list for a

          3        county; is that right?

          4    A   We should be able to, yes.

          5    Q   Now, when --

          6    A   Provided everything -- when you say "any given

          7        day" --

          8    Q   Roger.

          9    A   We want to make sure --

         10    Q   And when the State of Indiana and its counties

         11        report to the United States Election Assistance

         12        Commission concerning voter rolls, is this how you

         13        do it?     Do you use this data?

         14    A   We use the data from our Statewide Voter

         15        Registration System, yes.

         16    Q   So this is the data you use?

         17    A   Uh-huh.

         18    Q   So really, the Election Assistance Commission data

         19        comes right from SVRS?

         20    A   It does.

         21    Q   Okay.     Moving down on this section, the last

         22        sentence there -- that paragraph on Page 7.                 "In

         23        cases where the number of voters registered in a

         24        county exceeds 90% and the county's estimated

         25        voting age population" -- and then it goes on for
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          1        a little bit like that -- "the Co-Directors may

          2        conduct a voter address confirmation mailing to

          3        every voter in the counties in which this problem

          4        appears to exist, or to all registered voters in

          5        Indiana."

          6    A   Uh-huh.

          7    Q   Has that policy continued since you've been

          8        Co-Director?

          9                            MR. JEFFERSON GARN:         Objection to

         10        the extent that you're characterizing that as a

         11        policy.

         12    A   Has that practice been continued since you've been

         13        a Co-Director?

         14                            MR. JEFFERSON GARN:         Again, I'm not

         15        sure that this indicates it as a practice.

         16    Q   You can answer as either a policy or a practice as

         17        you prefer.

         18    A   Is the word "may" in there?            Do you see that?

         19    Q   I'm asking you whether this is something you've

         20        done since you've been a Co-Director.

         21    A   I continuously review the information on our

         22        state, but I do not -- at least from my

         23        perspective -- believe that the census data, as I

         24        said earlier today, is as accurate as what the

         25        Department of Justice at that time believed it
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          1        was.    And so I can't speak to why the Co-Directors

          2        at that time agreed to that arrangement, but I

          3        believe that we have better ways to work with our

          4        counties.

          5    Q   Is that a "no"?

          6    A   Yes, it is a "no".

          7    Q   Okay.    I'd like to turn to Page 9, second

          8        paragraph.

          9    A   (Witness complies.)

         10                            MR. JEFFERSON GARN:         Second full

         11        paragraph?

         12    Q   The paragraph that starts "For example, SVRS

         13        contains a program" -- and let me know when you're

         14        finished.

         15    A   (Witness complies.)         Okay.

         16    Q   What's this paragraph describing?

         17                            MR. JEFFERSON GARN:         I'd just like

         18        to note an objection.          This --

         19    Q   You can answer the question.

         20                            MR. JEFFERSON GARN:         Just a second.

         21        One second.      This looks to be irrelevant as it

         22        solely pertain to HAVA, but he can answer.

         23                            MR. CHRISTIAN ADAMS:         Well, what

         24        difference does it make if it pertains to HAVA?

         25        HAVA and NVRA are linked.
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                                                                              #: 439



          1                            MR. JEFFERSON GARN:         Because

          2        there's no private action on HAVA.

          3                            MR. CHRISTIAN ADAMS:         If there's

          4        obligations under NVRA, there are --

          5                            MR. JEFFERSON GARN:         I'm just

          6        noting my -- obligation -- we can discuss the

          7        legal argument later, but I'm just noting an

          8        objection.      We can talk about it later.

          9                            MR. CHRISTIAN ADAMS:         But when did

         10        he we start making relevance objections in the

         11        deposition?

         12                            MR. JEFFERSON GARN:         I stated --

         13                            MR. CHRISTIAN ADAMS:         I thought we

         14        waived that.

         15                            MR. JEFFERSON GARN:         I stated my

         16        objection at the very beginning that I was going

         17        to bring up objections as we went, although I

         18        assumed we were waiving it.            I just want to make

         19        it clear.

         20                            MR. CHRIS FEDELI:        Okay.     Your

         21        objection is noted.

         22    DIRECT EXAMINATION (Continuing),

         23    QUESTIONS BY MR. CHRIS FEDELI:

         24    Q   Mr. Deckard, so do you understand what this

         25        paragraph is describing here?
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          1    A   Approximately, yes.

          2    Q   Okay.

          3    A   I'm sure is it took the Co-Directors and their

          4        counsels at the time to thoroughly review it.                  I

          5        would not necessarily want to go teach it

          6        tomorrow, but I think I roughly understand it.

          7    Q   And is this describing a process by which the

          8        State would use the U.S. Post Office National

          9        Change of Address System for list maintenance

         10        purposes?

         11    A   Let me just look one more time.             (Witness looks at

         12        document.)      Yeah, it says it permits -- permits

         13        the State to do that.

         14    Q   Okay.    Moving down to the last paragraph of

         15        Page 9, sentence that starts "No later than seven

         16        business days following the generation of this

         17        monthly report -- "

         18    A   Okay.

         19    Q   Have you ever sent -- has your office ever sent a

         20        letter like that during your tenure?

         21    A   Not to my knowledge, no.

         22    Q   So that would be a Notice of Violation letter to a

         23        county concerning failure to conduct list

         24        maintenance activity described in paragraph four?

         25    A   Yeah.    Not to my knowledge.
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          1    Q   Okay.    Going back to Page 5 of this exhibit --

          2        last paragraph here.         Starts with "No later than

          3        seven business days following generation of this

          4        monthly report -- "

          5    A   Okay.

          6    Q   You testified earlier that these monthly reports

          7        relating to address changes in SVRS were not being

          8        provided; is that correct?

          9    A   I believe I recall that, yes.            That was my

         10        testimony.

         11    Q   So is it also the case that the violation --

         12        Notice of Violation letter to counties have not

         13        been getting sent out based on a report that

         14        doesn't exist?

         15    A   If I'm understanding this 2008 Decree -- or

         16        Consent Decree, yes.

         17    Q   Let me go back to Page 2 and 3.             I'm not going to

         18        make you read the whole thing, but I'll tell you

         19        what's in there:        Something about Notice of

         20        Violation letters for failure to process DOH

         21        hopper items, a Notice of Violation letters for

         22        failure to process DOC hopper items.               You

         23        testified that those reports -- monthly reports

         24        were not being generated, correct?

         25    A   I believe so, yes.
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          1    Q   And would it follow that those Notice of Violation

          2        letters to counties have not been sent out during

          3        your tenure?

          4    A   That would be correct.

          5    Q   What's your understanding of how census data is

          6        compiled?      How often is census data compiled from

          7        your understanding?

          8    A   Again, you're talking to an election

          9        administrator, but I understand that beyond the

         10        ten-year survey that is required I believe in the

         11        Constitution, we have periodical updates to the

         12        census that are done, but I couldn't speak with

         13        specificity to that.

         14    Q   So those would be midterm updates to census data;

         15        is that your understanding?

         16    A   I am not an expert on census information.

         17    Q   So what you did say though is every ten years

         18        there is a count that would be made of the

         19        population; is that right?

         20    A   I do know there is that, yes.

         21    Q   And probably the best data you're going to get of

         22        anyone's snapshot is when they do this census

         23        count; is that right?

         24    A   Can you define "best data"?            You're asking an

         25        election administrator to speculate on census
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                                                                              #: 443



          1        counties have processed that?

          2    A   Yes.

          3                            MR. CHRIS FEDELI:        Can we take a

          4        five-minute break?         I'm going to break real quick

          5        here.

          6                            (A ten-minute break was taken.)

          7    DIRECT EXAMINATION (Continuing),

          8    QUESTIONS BY MR. CHRIS FEDELI:

          9    Q   You testified earlier -- and let me know if I'm

         10        mischaracterizing this -- that you, in your

         11        capacity as Co-Director, spend time communicating

         12        with county officials and even sometimes citizens

         13        concerning election issues, either registration,

         14        administration, or list maintenance; is that

         15        right?

         16    A   Yes.

         17    Q   And some of that communication with either county

         18        officials or citizens has been concerning list

         19        maintenance; is that right?

         20    A   Yes.     We've -- we -- yeah, there's always

         21        discussion about that from all those groups.

         22    Q   Any counties or citizens ever express concern to

         23        you about the condition of the voter rolls, either

         24        in the county or in the state of Indiana?

         25    A   You know, as far as citizens calling with
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          1        questions about that -- and that's truly how I

          2        would gauge that -- we didn't get questions on

          3        that until this all began, but then we had I

          4        believe some membership that called in and

          5        expressed concerns about it at that time.                We

          6        referred that there was pending litigation and

          7        that we would certainly do our best to answer what

          8        we could.

          9    Q   What were their concerns about the voter rolls

         10        that they expressed to you?

         11    A   It's -- as I recall conversations just that -- I

         12        think there were references to inaccurate voter

         13        rolls and dead people potentially voting.                And

         14        generally, that is, whenever there is a discussion

         15        about voter list maintenance, or lack of it, or

         16        perception of it, you often hear about dead people

         17        voting and the word "purge" will often come up,

         18        and I don't like to talk about either of those two

         19        things because we don't like either term.

         20    Q   So when people called up with concerns about the

         21        voter rolls and the concern was -- you

         22        characterized it as dead people voting -- would

         23        that be that there was concern that you were

         24        leaving the door open for fraud?

         25    A   No.    I think that they believed that it could
Case 1:12-cv-00800-WTL-TAB Document 69-1 Filed 10/11/13 Page 81 of 147 PageID 213
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          1        actually be occurring, that we would have the

          2        deceased in some form of fraudulent activity

          3        returning to the poll.

          4    Q   So they were concerned about fraud and I guess the

          5        relationship between that and the voter rolls is

          6        that if they believe the voter rolls are

          7        accurate -- that there aren't dead people on the

          8        rolls -- then it's harder to commit that kind of

          9        fraud.     Is that what these -- is that what was

         10        being expressed?

         11    A   Could you restate that?          I apologize.

         12    Q   Yeah.    So the relationship between dead people

         13        voting and accurate voter rolls is that if there

         14        aren't the names of dead people on voter rolls,

         15        it's harder to commit fraud that way; is that

         16        right?

         17    A   I recall from the conversations that that

         18        connection was not made.           It was just implied that

         19        the lists were inaccurate and that people were on

         20        the rolls and that, in that case, the dead would

         21        vote.

         22    Q   So -- okay.      So I understand the clarification you

         23        made, but it still seems that the concern is one

         24        of the potential voter fraud relating to the voter

         25        rolls; is that right?
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                                                                              #: 446



          1    A   That seems to be the concern, yes.

          2    Q   And those were citizen complaints that you

          3        mentioned.      Any similar conversations with county

          4        officials that you had about that?

          5    A   About citizen complaints?

          6    Q   No, about counties officials being concerned about

          7        their voter rolls?

          8    A   No.    I do not recall an instance where county

          9        officials indicated those types of terms about

         10        maintaining -- or about dead people voting,

         11        inaccurate rolls, and what have you.               Now, I will

         12        make a note that we do have receive inquiries from

         13        counties about voter list maintenance activities.

         14        That's very common, but not the other.

         15    Q   And so setting aside the dead people voting

         16        example, did the counties ever -- have you ever

         17        heard a county communicate to you "I think this is

         18        a problem that I have voter rolls that aren't

         19        accurate enough"?

         20    A   I have had counties express that they want to make

         21        sure they're doing what they're supposed to do.

         22        The big thing that they will indicate that stands

         23        out in my head -- and again, this is just my

         24        experience -- is that they want to know what they

         25        need to know about the process.             And so a lot of
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          1        voter list maintenance" -- or they'll use a term

          2        similar to that -- "and we just want to walk

          3        through the process here," or "We have a new staff

          4        member," or something along those lines.

          5    Q   So give them some guidance on the law?

          6    A   Just to make sure we got this right.               One thing I

          7        will say is you do -- one thing I will reiterate

          8        is prior to the Statewide Voter Registration

          9        System, counties operated without our involvement

         10        and a uniform system, though they had a uniform

         11        law.    So to my knowledge that -- many of the

         12        people that are doing this are now have done it

         13        under both as they've come from the experience

         14        prior to moving to the updated system.

         15    Q   Now, the voter list maintenance -- and this is

         16        something that, to some extent, is something you

         17        have to do all the time as people die, correct?

         18    A   It's a cycle that never stops.

         19    Q   And what if you were to stop doing it for a period

         20        of ten years or five years?            What would happen to

         21        the voter lists?

         22    A   If you did not do it for that time period, you

         23        would create a potential for very inaccurate voter

         24        registration lists in your county.

         25    Q   And then would a -- would it take a certain amount
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          1        of time and effort then to go through those

          2        inaccurate lists and clean them up?

          3    A   Well, if a county did do that, it would take a

          4        process to get themselves back on track.

          5    Q   So it would take more effort than if they've been

          6        doing it all along; is that right?

          7    A   I have never thought of it that way.               I assume

          8        they would have more work than if they had been

          9        doing what we recommend, which is a continuous

         10        cycle.

         11    Q   And in your role as Co-Director of the Division,

         12        NVRA Official for the State of Indiana, you're

         13        also responsible for Section 7 of the NVRA?

         14    A   That is correct.

         15    Q   And what is Section 7 all about?

         16    A   Section 7 primarily concerns the -- what I always

         17        say:     8 is the process by which we maintain our

         18        list and remove those that should not be on the

         19        list.     7 is the process by which the voter

         20        registration is offered through various entities

         21        and by which voters sometimes enter into the

         22        registration process.

         23    Q   Okay.

         24                            MR. CHRIS FEDELI:        Marking

         25        Exhibit 10.
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          1        inaccuracy as well.         I think the counties would

          2        make a case that these are also their voters and

          3        they should also have a role in that.

          4    Q   Can we go back to Exhibit 3 again?              This is the

          5        Interstate Voter Registration Crosscheck Program,

          6        and we talked about -- Mr. Garn talked about

          7        Page 3 of this document a little bit, which is a

          8        the map of participants in 2012.             And we said

          9        there was 15 states participating.

         10    A   Uh-huh.

         11    Q   And are you aware that there are eight states that

         12        are exempt from complying with the NVRA because

         13        they use same-day registration?

         14    A   Yes.

         15    Q   Okay.     So that would be 23 out of -- we're

         16        talking -- I'm sorry, 15 out of 42 states that

         17        we're talking about participate in this.                Now, the

         18        states that don't participate, do you know what

         19        condition their voter rolls are in?

         20    A   No, I do not know.

         21    Q   You don't know whether they're very accurate,

         22        somewhat accurate, completely inaccurate, or in

         23        horrible shape?

         24    A   I could not speak to that.

         25    Q   Okay.     And you're aware that the Election
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                                                                              #: 450



          1        Assistance Commission does a little bit of a

          2        metric where they analyze how well maintained, how

          3        accurate state voter rolls are kept?

          4    A   I'm aware that the Election Assistance Commission

          5        is devoid of four members and has become a federal

          6        bureaucracy that struggles to meet.              They have no

          7        appointees.      So I am aware that they're there, we

          8        report to them, but as far as federal guidance we

          9        are a bit devoid from those leaders.

         10    Q   And are you aware that that put out a report?

         11    A   I believe I'm aware of several reports they've

         12        had.

         13    Q   And are you aware that the report they put out

         14        every two years contains data on how well the

         15        states are maintaining their voter rolls?

         16    A   I am aware of their reports, yes.

         17    Q   Is that a "yes" to my question?

         18    A   I said "yes".

         19    Q   Okay.    And are you aware that Indiana ranks fairly

         20        low on that list?

         21    A   I am aware of that.

         22                            MR. CHRIS FEDELI:        All right.      You

         23        mind if I take a minute to confer with my counsel

         24        for a second?

         25                            MR. JEFFERSON GARN:         That's fine.
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          1        question and I'll do my best to answer.

          2    Q   Okay.    Is it your decision whether or not the BMV

          3        sends information through the hopper to a county

          4        regardless of whether they check that box at --

          5    A   No.

          6    Q   It's not your decision?

          7    A   It's not my decision.

          8    Q   Whose decision is that?

          9    A   It would be the BMV Commissioner and his program.

         10    Q   Earlier, you testified that getting the Social

         11        Security Death Index is something that you would

         12        be interested in doing and you would like to do if

         13        you could work out the particulars involved in

         14        accomplishing that.         Does that ring a bell?

         15    A   Well, working out particulars makes it sound as if

         16        I want to build a deck outside of the Election

         17        Division.      What I would say is making sure as I've

         18        previously answered that as we interact -- whether

         19        it's with another state or the federal

         20        government -- that we are doing so that satisfies

         21        both technical and legal concerns.              Just as the

         22        counties are separate entities from the State of

         23        Indiana, so are those.

         24    Q   What technical and legal concerns present

         25        themselves with the Social Security Death Index?
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                                                                              #: 452



          1    A   Sure.    That our information can interface, that it

          2        can interface accurately, that it can provide to

          3        us what we need to know, that we can get that to

          4        our counties, that we're following all legal

          5        restrictions.       I'm not of counsel, but that's why

          6        I have one.      And so satisfying all of those.

          7    Q   Okay.    And so we established earlier that there's

          8        no cost to getting the Social Security Death

          9        Index, correct?

         10    A   I believe you established that.             I -- I did not.

         11    Q   You stayed said -- I'm sorry.            You said you hadn't

         12        investigated cost.

         13    A   I had not investigated cost.

         14    Q   Okay.    And how far have you gone in investigating

         15        the things you just mentioned, compatibility,

         16        technical specs, et cetera?

         17    A   Well, I think for the most part, fairly well in.

         18        But I will note that actual implementation moving

         19        forward with that will require work with Quest,

         20        and with SVRS, and our Program Managers to

         21        actually carry it out.          Any legislative change --

         22        and this is what I always tell the legislature --

         23        any legislative change requires very specific

         24        programming and follow up to make sure that

         25        everything's okay.
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          1    Q   Okay.    And this investigation was something you

          2        made since the new law passed or prior to the new

          3        law?

          4    A   Prior to the new law, it's been a discussion or a

          5        concern of mine, and something that's certainly an

          6        election administrator topic.

          7    Q   And about had how many of your hours would you say

          8        of your time that you spend investigating the

          9        topics you mentioned?

         10    A   I couldn't recall specifically a number of hours,

         11        but I'd say I deliberate on all things like this,

         12        you know, weekly.        If not an hour, two hours,

         13        three hours.

         14    Q   And did you -- as a result of your investigation,

         15        did you come to the conclusion that it would be

         16        workable or not?

         17    A   I think it would be highly workable for the State.

         18        I think we just -- as we would implement, we have

         19        to do so in a way that addresses both technical

         20        and legal concerns.

         21    Q   And that's what I was asking about when you, you

         22        know, looked at those, investigated those

         23        technical and legal concerns you came to the

         24        conclusion that it was workable, right?                Is that

         25        what you just said?
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          1    A   Well, from what I understand now, the actual

          2        implementation may be another thing, but we will

          3        work through and can do -- I will make a note here

          4        that if you were changing a voter registration

          5        form in the Statewide Voter Registration System,

          6        it typically will take about I think ten hours and

          7        cost about $2,500, and so every specific change is

          8        a process when you have a system like what we

          9        have.

         10    Q   So you hadn't really reached a conclusion about

         11        the feasibility until this year, did I understand

         12        you correctly?       You started investigating last

         13        year, but the conclusion was more like this year?

         14    A   I believe so, but I would also note that I do not

         15        recall a specific moment where my counterpart had

         16        come to me and said "Let's move forward with this

         17        and are you ready to move forward?"              I do not

         18        recall that.       And sometimes action comes from my

         19        side or suggestions, and sometimes vice versa.

         20    Q   So it was about a year deliberating this issue,

         21        correct?

         22    A   Given or take, yes.

         23    Q   Earlier, you mentioned state law lists which

         24        writings are sufficient for immediate removal.

         25    A   Can you restate that?
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                               APPENDIX EXHIBIT 5

              J. BRADLEY KING DEPOSITION TRANSCRIPT (EXCERPTS)
                                                                                 1
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION
                              CASE NO. 1:12-cv-800-WTL-TAB


               JUDICIAL WATCH, INC.,                   )
               and TRUE THE VOTE,                      )
                                                       )
                            Plaintiffs,                )
                                                       )
               v.                                      )
                                                       )
               J. BRADLEY KING, et al.                 )
                                                       )
                            Defendants.                )



                            The deposition upon oral examination of

               J. BRADLEY KING, a witness produced and sworn before

               me, Rachel L. Tookolo, a Notary Public in and for the

               County of Hamilton, State of Indiana, taken on behalf

               of the Plaintiffs at the Indiana Government Center,

               South Building, 302 West Washington Street, Conference

               Room 5, Indianapolis, Marion County, Indiana,

               commencing on the 30th day of May, 2013, pursuant to

               the Applicable Rules of Procedure with notice as to

               time and place thereof.



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          1        maintenance duties.

          2    Q   And did you have similar conversations with

          3        legislators concerning this legislation?

          4    A   Yes, I did.

          5    Q   And who were the primary sponsors of this

          6        legislation?

          7    A   Representative Kathy Richardson was the author,

          8        and Senator Landske was the Senate Sponsor.

          9    Q   And did you speak to both of them?

         10    A   Yes.

         11    Q   And did you advocate for passage of this bill?

         12    A   Yes, I did.

         13    Q   Do you feel this bill addressed certain needs

         14        within the Election Division for list maintenance

         15        in the State of Indiana?

         16    A   Referring to 1391, yes, I did.

         17    Q   And what were those needs?

         18    A   The need to have a mechanism to ensure that the

         19        voter list maintenance procedures either

         20        authorized or required by statute were carried out

         21        even when disagreements occurred between the two

         22        Co-Directors.

         23    Q   So there have been disagreements concerning list

         24        maintenance between the two Co-Directors in the

         25        past?
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          1    A   Yes, certainly.

          2    Q   And this legislation should address that going

          3        forward, correct?

          4    A   Yes, that's correct.         It provides that --

          5    Q   And then going back to SB 519, would you say this

          6        legislation also addressed needs for list

          7        maintenance in the State of Indiana?

          8    A   Yes, I would.

          9    Q   And if you could identify a few of those needs,

         10        some of maybe the key needs for me.

         11    A   Certainly.      The language in Senate Enrolled Act

         12        519 provided for a number of new mechanisms for

         13        voter list maintenance, in particular the

         14        statewide -- or state -- multistate data-sharing

         15        through the Kansas Consortion.             We had had

         16        discussions in the Election Division previously,

         17        and this Consortion was referenced in the previous

         18        Consent Decree, but we had not been able to reach

         19        agreement among the Co-Directors to proceed with

         20        that data-sharing.         Under Senate Bill 519, the

         21        State's now mandated to enter into the Memorandum

         22        of Understanding to participate in that.

         23    Q   And was there also provisions concerning obtaining

         24        the Social Security Administration's Death Index

         25        in this bill?
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          1        purposes such as voter list maintenance.

          2    Q   So Senate Bill 519 requires Indiana to participate

          3        in these two databases?

          4    A   Indiana had already joined through its Department

          5        of Health the Steve and Eve Databases, but the

          6        legislation specifically authorized the use of the

          7        data for voter list maintenance purposes.

          8    Q   And when did Indiana join through its Department

          9        of Health?

         10    A   I don't have direct knowledge, but from what I've

         11        read, within the last year or so.              Fairly recent.

         12    Q   So upon joining, the legislature has now

         13        authorized additional measures to require

         14        specifically the use of that data for list

         15        maintenance; is that accurate?

         16    A   That would be accurate.

         17    Q   Anything else about 519 that comes to mind?

         18    A   We have a provision that I think allows a very

         19        common sense measure, and that is the use of

         20        published obituaries and notice of a state

         21        administration to allow local voter registration

         22        offices to cancel decedents.            In many cases, the

         23        County Voter Registration Offices have advised us

         24        that they know from personal office or from local

         25        media that an individual has died, but they
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                                                                                 460



          1        disagreements between the Co-Directors concerning

          2        either expenditures of money or activities to be

          3        undertaken in regards to list maintenance,

          4        correct?

          5    A   Yes, that's true.

          6    Q   And then House Enrolled Act 1391 was designed to

          7        solve that by adding a tie-breaking vote by the

          8        Secretary of State when the Co-Directors are

          9        deadlocked concerning list maintenance; is that

         10        accurate?

         11    A   That is accurate.

         12    Q   Tell me about some of the disagreements that you

         13        can recall between yourself and your Democratic

         14        counterpart over list maintenance in the past.

         15    A   Well, I should say they have been consistent and

         16        extensive through the time that I've served.                 I've

         17        had several different individuals serve as my

         18        Democrat counterparts.          The first instance that

         19        comes immediately to mind is the Social Security

         20        Administration Death List.           We were able to agree

         21        to obtain that on one occasion, in 2003 I believe.

         22        There were some problems encountered in one county

         23        with the use of the information from the list, and

         24        after that I would make offers to have our agency

         25        purchase the Social Security List which is not
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          1        particularly expensive, but I could never get

          2        agreement from any Democrat counterpart.

          3    Q   So that would be an example of a disagreement that

          4        has occurred over the years?

          5    A   Yes, that's correct.         I would add that probably

          6        one of the more significant disagreements for the

          7        purpose of this proceeding would be with regard to

          8        the Consent Decree and efforts to obtain the

          9        extension of its term.

         10    Q   And so you said there was a disagreement between

         11        you and the Co-Director concerning the Consent

         12        Decree, and this would be the 2006 Consent Decree

         13        with the Department of Justice?

         14    A   That would be correct.

         15    Q   And there were discussions between you and the

         16        Co-Director about extending the term of that

         17        Consent Decree?

         18    A   Discussion between the two of us and also with

         19        representatives from the Department of Justice.

         20    Q   And what were those -- how would characterize

         21        those discussions?         I take it you disagreed?

         22    A   I thought the extension of the Consent Decree

         23        should be considered.          The Department of Justice

         24        representatives whom we spoke to -- this was by

         25        conference call; I don't recall immediately who
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          1        they were, but this would have been during the

          2        final few months of the Consent Decree's effect in

          3        2009.    I raised the possibility of the benefits of

          4        extending the Consent Decree, but my Democrat

          5        counterpart did not see any benefit nor did the

          6        Department of Justice indicate any benefit from

          7        their perspective.

          8    Q   And if you recall, did either your counterpart or

          9        the Department of Justice offer as a rationale for

         10        not continuing with the Consent Decree?

         11    A   I think the only rationale is a general statement

         12        that improvements had been made to the voter

         13        registration rolls under the period the Consent

         14        Decree was in effect.

         15    Q   So they believed -- they indicated they thought

         16        the Consent Decree was no longer necessary because

         17        improvements had been made?

         18    A   I think that would be a fair summary.

         19    Q   And then talking -- going back for a moment to

         20        your disagreements with your counterpart

         21        concerning obtaining the Death List from the

         22        Social Security Administration:             If you recall,

         23        what were your counterpart's objections during

         24        that?

         25    A   They were founded in the experience that Marion
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          1        County, Indiana -- the location of Indianapolis --

          2        had experienced when information from that list

          3        had been provided to their County Voter

          4        Registration Office in the May 2004 Primary, it

          5        became apparent that the County Voter Registration

          6        Office staff here in Marion County as opposed to

          7        the remaining 91 counties had not read or

          8        understood the instructions provided with the

          9        Social Security List and had proceeded to cancel

         10        everyone up to a certain point.             I was told that

         11        the individual primarily responsible had canceled

         12        names until she came across the name of someone

         13        she knew and then stopped, but did not tell anyone

         14        that she had canceled everyone previous to that

         15        name.    And so on Primary Election Day in May 2004,

         16        several individuals with names -- last names in

         17        that range appeared at the polls to vote and were

         18        told they had been canceled because they were

         19        reported deceased.

         20    Q   And this was in 2004?

         21    A   Yes.

         22    Q   So if I understood you, in 2004 a county official

         23        used the Social Security Database to cancel the

         24        names of living people, not only dead people?

         25    A   Yes.    I would say I have no reason to believe that
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         1        was deliberate, but that was the effect.

         2    Q   Okay.

         3    A   And if I could add to say that that was the

         4        rationale for not purchasing the Social Security

         5        Administration List in future years was that there

         6        had been a bad result in one county in one

         7        election.

         8    Q   Did you investigate possible causes of that error

         9        and possible solutions to it?

        10    A   Not directly because the Marion County Election

        11        Board itself became aware of the problem on

        12        Election Day, and so they immediately began an

        13        investigation, and I believe there were published

        14        reports that they had determined it was a training

        15        problem and there was no invitation to the State

        16        or any rationale for further State investigation

        17        because the County Election Board on-site had

        18        addressed it.

        19    Q   And I'm curious because I only know so much about

        20        Social Security Databases:           Is it possible to

        21        obtain a database from the Social Security

        22        Administration of only deceased individuals?

        23    A   Yes.    Yes.

        24    Q   And was that not done in 2004?

        25    A   Yes, that's what was obtained prior to the 2004
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         1        election.

         2    Q   So -- just so I understand, so in 2004 a list was

         3        obtained that included not only the names of

         4        deceased people from the Social Security

         5        Administration, but also the names of living

         6        people?

         7    A   No, that's not correct.          The list, as I understand

         8        it, is compiled by the Social Security

         9        Administration and lists all beneficiaries of

        10        Social Security who have died.            But it does not

        11        necessarily tie that individual recipient to a

        12        voter registration record.           So everyone who

        13        received Social Security and bore the name John

        14        Smith is on the Death List at Social Security

        15        Administration --

        16    Q   I think I understand.         So in 2004, the issue was

        17        you had a nationwide database of deceased people

        18        that hadn't been processed correctly by the county

        19        to ensure that the names removed were not people

        20        that died in another state or county; is that

        21        right?

        22    A   That would be correct.

        23    Q   Okay.

        24                           MR. CHRIS FEDELI:         Can we take a

        25        break really quickly?
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         1                           (A four-minute break was taken.)

         2    DIRECT EXAMINATION (Continuing),

         3    QUESTIONS BY MR. CHRIS FEDELI:

         4    Q   Continuing on what we were discussing, I want to

         5        go back for a second to the conversations that led

         6        to the expiration of the Consent Decree.               You

         7        mentioned that you spoke to -- it was your

         8        Co-Director as well as individuals at the

         9        Department of Justice who were of the opinion that

        10        the Decree should expire; is that correct?

        11    A   I'm not sure if it was phrased affirmatively.                    It

        12        was more on the order that they saw no interest or

        13        benefit in having it continue.

        14    Q   Okay.    So no interest in continuing it?

        15    A   Yes.

        16    Q   Do you remember -- do you remember the names of

        17        the anybody at the Department of Justice who was

        18        part of that conversation?

        19    A   I don't recall it here.          I might be able to obtain

        20        that information.        But I know it was -- it might

        21        have been Ms. Park, but I could be mistaken.                 A

        22        female attorney is what I recall from the

        23        conference call, but beyond that --

        24    Q   And how many Department of Justice attorneys were

        25        on that call?
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         1    A   Well, to my knowledge, probably two.

         2    Q   I'm going to read some names and if one of them

         3        rings a bell as an attorney participating, would

         4        you let me know.

         5    A   Certainly.

         6    Q   Was Becky Wertz one of the attorneys on the call?

         7        It might have been Rebecca Wertz.

         8    A   That is a familiar name.          Possibly.

         9    Q   Possibly.     What about Robert Popper?

        10    A   We did have phone calls with Robert Popper as a

        11        participant, yes.        And again, I can't recall

        12        exactly that final phone call, but yes, I would

        13        not be surprised if he was on that final phone

        14        call.

        15    Q   So you mentioned that Mr. Popper had participated

        16        in some of the conversations, correct?

        17    A   Yes.    During the tenure the of the Consent Decree,

        18        he was involved in several telephone

        19        conversations.

        20    Q   But you don't recall if he was on that final call

        21        or not?

        22    A   I'm sorry, I don't know.

        23    Q   Okay.     How about Chris Herren?         Do you remember if

        24        he was on that call?

        25    A   I don't believe so.        I know -- I know Chris from
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         1        other interactions, but I don't believe he was on

         2        that call.

         3    Q   How about Brian Heffernan?

         4    A   Could you spell that last name?

         5    Q   Yeah.    It's H-e-f-f-e-r-n-a-n.

         6    A   No, I'm sorry, that doesn't ring a bell at all.

         7    Q   How about Richard Dellheim?

         8    A   No, I'm sorry.

         9    Q   Julie Fernandez?

        10    A   Julie Fernandez does ring a bell.             I don't think

        11        she would have been the primary person on that

        12        call, but may have participated.

        13    Q   She may have participated in that call or at

        14        another time?

        15    A   Yes.

        16    Q   How about Bruce Gear?

        17    A   I'm sorry, could you spell that?

        18    Q   Gear.    I'm sorry, G-e-a-r.

        19    A   Gear, G-e-a-r.       No, I'm sorry, I don't recall him.

        20    Q   And how about Tom Perez?

        21    A   I certainly know who Tom Perez is, but I don't

        22        think he was involved in the call.

        23    Q   So we were talking about some disagreements

        24        between you and the Co-Directors.             I think we got

        25        there were a couple of them.           There were
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         1        disagreements on the death list and then also on

         2        whether to extend the Consent Decree.              Were there

         3        any others that you can remember?

         4    A   Yes.    I -- I think the -- the other that I more

         5        clearly recall is with regard to the Kansas

         6        Consortion for sharing multistate data.               We had

         7        had reference to participating in data-sharing

         8        through Kansas as part of the Consent Decree, but

         9        after the expiration of the Decree, my counterpart

        10        was unwilling to enter into any further

        11        discussions or stop to sign a Memorandum of

        12        Understanding to permit the data sharing.

        13    Q   What was his rationale for disagreeing with that?

        14    A   It would have been Pam Potesta.            Her -- her -- her

        15        rationale I think is set forth in a letter that's

        16        been provided, so I'll try to summarize it.                I

        17        think her point was that she didn't know the

        18        criteria by which potential matches were

        19        identified and was not convinced that they were

        20        sufficiently reliable for use by Indiana county

        21        voter registration issues.

        22    Q   And any other disagreements concerning list

        23        maintenance between you and the Co-Director that

        24        you can remember?

        25    A   I don't think any others where we reached an
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         1        impasse.     I think there were certainly occasions

         2        in following up with counties under the Consent

         3        Decree where the timing and the content of

         4        communications were ones that we did have initial

         5        agreement on but were able to reach some sort of

         6        compromise.

         7    Q   And going back to the disagreement about the --

         8        obtaining the Social Security Deceased Persons

         9        Database, did you agree with your counterparts

        10        rationale as to why you should not obtain the

        11        list?

        12    A   No, I did not.

        13    Q   And why is that?

        14    A   Because I felt that the issue was primarily one of

        15        training county voter registration officials and

        16        that -- and 91 other counties to all of our

        17        knowledge and information, the task was carried

        18        out competently, although I'm sure in a project of

        19        that size, human error would result until some

        20        mistakes, but there was no systemic problem.

        21    Q   And when it came time to decide whether to enter

        22        into the Kansas Consortion for Interstate

        23        Crosscheck, you disagreed with your colleague's

        24        opinion.     Why was that?

        25    A   I felt that the Kansas program had been developed
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         1        over a number of years, and although the number

         2        states participating has risen quite -- to quite a

         3        high number more recently -- I believe 22 or 23 --

         4        even at that time, more than a dozen states were

         5        involved.     And my discussions with my counterparts

         6        from Kansas in particular and some of the other

         7        participating states, they had not encountered any

         8        problems with administering the results --

         9        processing the results that they received from the

        10        data match.

        11    Q   So you felt it could have been implemented

        12        effectively?

        13    A   Yes.

        14    Q   And it would have helped maintain accurate voter

        15        rolls in the State of Indiana?

        16    A   Yes, certainly.

        17    Q   And then when you came to your decision by your

        18        counterpart not to with the -- not to extend the

        19        Consent Decree, why did you disagree with that?

        20    A   I felt that there had been some tools provided in

        21        that Consent Decree that were not available to us

        22        in state legislation primarily, and we had no

        23        tiebreaker, if you will, as we have by virtue of

        24        House Enrolled Act 1391.          And so we were losing

        25        those potential tools to carry forward on the
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         1        work.

         2    Q   What were some of those tools?

         3    A   The tools that I was thinking of in particular

         4        were the ability to bring enforcement actions

         5        against counties, for example, which is not

         6        provided for in our state statute.             The Consent

         7        Decree provided that we would be willing -- or we

         8        would do that if we determined it to be necessary,

         9        and of course the Attorney General was a party on

        10        behalf representing the State in that regard.                 In

        11        the absence of that Consent Decree under the

        12        administration of a Federal Court, we had not

        13        statutory authority to engage in that sort of

        14        enforcement.

        15    Q   Anything else?

        16    A   In that more general sense, the structure

        17        reporting that was set forth in the Consent Decree

        18        required the ongoing cooperation of the

        19        Co-Directors, and after the expiration of the

        20        Consent Decree my counterpart showed no interest

        21        or willingness to continue that sort of agency

        22        review and follow up on the information provided.

        23    Q   So when you say "the structured reporting", were

        24        those the monthly reports concerning county

        25        performance?
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         1    A   Yes.    That's what I was referring to, yes.

         2    Q   And those were not continued after the expiration

         3        of the Consent Decree?

         4    A   The system has the ability to generate the

         5        reports, but no, there was not a meeting of the

         6        Co-Directors to review the reports and take action

         7        based on what the report showed.

         8    Q   And anything else you can remember that the

         9        Consent Decree gave you that you liked?

        10    A   I suppose in more general terms, helping to

        11        enforce or reinforce the importance of voter list

        12        maintenance as part of our training efforts for

        13        county voter registration, county election

        14        officials.

        15    Q   And in the Consent Decree, was there also a

        16        provision concerning Notice of Violation letters

        17        from the Co-Directors to the counties to be issued

        18        in certain circumstances?

        19    A   Yes, that's correct.

        20    Q   And was that something that you found to be

        21        helpful during the time of the Consent Decree?

        22    A   Yes, certainly.

        23    Q   And was it continued after the expiration?

        24    A   No, not -- certainly not in the format that had

        25        been used under the Consent Decree.              We did have
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         1        occasions where individuals within a county, say

         2        one member of the county for voter registration,

         3        would raise a issue or a problem, and we would

         4        respond with either information or instructions

         5        about the requirements to be followed and to

         6        correct the problem.         But no, not exactly in the

         7        format under the Decree.

         8    Q   Anything else you can remember under either the

         9        Consent Decree or the Compliance Plan that was

        10        produced in that Decree?

        11    A   No, nothing beyond what I already addressed.

        12    Q   Beyond the issues we've just discussed, are any

        13        parts of either the Consent Decree or the

        14        Compliance Plan produced under that Decree still

        15        being followed by you and your Co-Director?

        16    A   I'm not sure I understand exactly the scope of the

        17        question.     I would say that, yes, we're certainly

        18        making a reasonable effort to comply with federal

        19        NVRA.

        20    Q   And beyond the reasonable effort, are there any

        21        specific kind of additional or enumerated, I

        22        guess, requirements in either that Consent Decree

        23        or the Compliance Plan that you had begun in

        24        response to that lawsuit and are still doing?

        25    A   I would say probably the most significant
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         1        but that can be accounted for from a variety of

         2        reasons.

         3    Q   You said earlier that the -- there was agreement

         4        that there had been improvement in the accuracy

         5        and currency of the voter rolls between 2006 and

         6        2009?

         7    A   Yes.

         8    Q   Do you know if there was a similar improvement

         9        between 2009 and 2012?

        10    A   No, I don't know.        I would say there, in my

        11        opinion, there was not a similar improvement in

        12        terms of the scope.        There were large numbers of

        13        records that were either inactivated or canceled

        14        during that first period that reflected the

        15        absence of doing that for several years before.

        16    Q   And one of the activity undertaken pursuant to

        17        that Consent Decree was a statewide mailing for

        18        removing relocated voters?

        19    A   That's correct.

        20    Q   And when was that mailing undertaken, if you

        21        remember?

        22    A   That was following the May 2006 Primary and then

        23        concluded the first part of August 2006.

        24    Q   And that had the effect of removing a number of

        25        voter registrations and moving them to inactive,
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         1        starting with the period between 2006 and 2009?

         2    A   Yes.

         3    Q   And about how many counties did those mailings to

         4        the best of your knowledge?

         5    A   I would guess in the neighborhood of five to ten.

         6    Q   And --

         7    A   Particularly -- I know some of the -- I recall off

         8        the top Monroe, which is where Bloomington is

         9        located, and I believe Allen County may have done

        10        one during the time period.

        11    Q   And after the expiration of the Consent Decree

        12        between the period of 2009 and 2012, did some

        13        counties do countywide voter list maintenance --

        14        mailings?

        15    A   Yes, they did.

        16    Q   And about how many counties to the best of your

        17        memory?

        18    A   About the same number, perhaps.            Probably no more

        19        than five.

        20    Q   Okay.     Was there any information that the Election

        21        Division was entering into the SVRS System either

        22        through to vendors or distributing to counties

        23        during the period of the Consent Decree that the

        24        Election Division had not been maintaining earlier

        25        than that?
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         1    Q   Any changes to the -- the BMV's role in the most

         2        recent legislation?

         3    A   No.   I think most of the changes we've had have

         4        been fairly minor.        I believe it was in 2012 we

         5        attempted to save some cost by having paper copies

         6        of the voter registrations transmitted by means

         7        other than Certified Mail, but I don't recall any

         8        other significant changes.

         9    Q   And the Department of Health, they send

        10        information to the counties concerning removals;

        11        is that what you stated?

        12    A   Identifying individuals who may be deceased

        13        voters.

        14    Q   And does the Department of Health -- have they

        15        negotiated agreements with other states or

        16        entities for out-of-state death lists?

        17    A   I'm not aware that they had prior to the adoption

        18        of the Steve and Eve Systems.

        19    Q   Which was last year?

        20    A   That's when Indiana entered into it.

        21    Q   Do you also, in your capacity as Co-Director, have

        22        conversations with branches of the federal

        23        government concerning list maintenance for the

        24        purposes of obtaining information?

        25    A   I suppose that the FVAP, the Federal Voter
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         1        is that right?

         2    A   Yes, that would be correct.

         3    Q   And had that been done previously?

         4    A   Not in the fashion that I believe the legislation

         5        envisions.      The NCOA information regarding address

         6        forwarding orders, for example, is not one that

         7        we've obtained previously from the Postal Service.

         8        We have had some data, like checking the validity

         9        of an address when it's entered into the system.

        10    Q   Were there any discussions between you and the

        11        Co-Director about obtaining that information

        12        previously?

        13    A   During the period prior to the Consent Decree, I

        14        believe there was.        But again, my counterpart did

        15        not indicate a willingness or interest in doing

        16        that.    I don't recall any discussions about that

        17        afterwards.

        18    Q   Do you remember your counterpart's rationale for

        19        not wanting to obtain that information?

        20    A   I think, again, it focused on reliability of data.

        21        I recall that, again, in one county -- in

        22        Monroe -- the County Voter Registration Office had

        23        initiated its own NCOA program and had reported

        24        problems with false matches or incorrect

        25        information.      And so I think my counterpart
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         1        extrapolated that to the entire database or entire

         2        program.

         3    Q   And you disagreed with that rationale?

         4    A   Yes.

         5    Q   And why did you disagree?

         6    A   Because again, although any huge amount of data is

         7        going to have mistakes that occur through human

         8        error, the NCOA is a nationwide program that's

         9        used by both government and private business to

        10        conduct routine business, so I think it's

        11        reliable.

        12    Q   And is it your understanding that other U.S.

        13        states use the NCOA for list maintenance?

        14    A   I believe that's correct.

        15    Q   And how about having the Department of Health

        16        enter into the Steve and Eve Databases?               Before

        17        2012, had there been discussions between you and

        18        your counterpart Co-Director concerning this

        19        issue?

        20    A   No, I don't -- I don't recall.            I think we -- we

        21        learned about the Steve and Eve Databases at one

        22        of our national association meetings where it came

        23        to us from sources outside the state, not from

        24        internal discussions or investigations.

        25    Q   So information about the availability of these
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         1        sanction for that.

         2    Q   So was the instruction in the publication, was it

         3        shaped by both you and your Co-Director, or more

         4        by you in that instance?

         5    A   Of course, ultimately we both have to agree.

         6        Regarding the content of the publication, I

         7        certainly was the one who brought it forward.

         8    Q   Were you happy with the results of the advice to

         9        the counties?

        10    A   Yes.

        11    Q   Do you feel it could have been better had your

        12        Co-Director agreed more or earlier?

        13    A   Not in this particular case.           We distribute our

        14        major publications once-a-year, and so there's

        15        plenty of discussion and negotiation that goes on

        16        prior to that actual moment of publication.

        17    Q   Regarding the several list maintenance procedures

        18        we've been talking about that you advocated for

        19        over your colleague's objections, do you view your

        20        positions to reflect good government policies and

        21        best practices for list maintenance?

        22    A   I would view that -- I view the position or

        23        activities I advocated for as being the best

        24        practice for carrying out the responsibilities of

        25        the state under federal law and our own statute.
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         1    Q   You're views are not partisan views, are they?

         2    A   I am influenced by the fact that I have a partisan

         3        affiliation, but that does not determine my view.

         4        There have been cases unrelated to this matter

         5        where I've certainly disagreed with my political

         6        party publicly.

         7                           MR. CHRIS FEDELI:         Do you need a

         8        break?

         9                           THE WITNESS:       I believe I'm just

        10        fine.    Thanks.

        11    DIRECT EXAMINATION (Continuing),

        12    QUESTIONS BY MR. CHRIS FEDELI:

        13    Q   Tell me a little bit about your conversations with

        14        the -- let me go back to what we were just talking

        15        about for a second.        So you view your policy

        16        positions concerning list maintenance that you've

        17        argued about with your Co-Director, you view these

        18        as best practices for good government for list

        19        maintenance?

        20    A   Yes, that's correct.

        21    Q   And you think independent of party affiliation

        22        these are the practices the state should be

        23        following?

        24    A   I'll speak to Indiana:         Yes.    There's certainly

        25        differences in other states, but in our case, yes.
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         1    Q   And why is that?

         2    A   Because of my experience with the administration

         3        of elections in Indiana.          It's extensive and I've

         4        known and worked with many of the County Voter

         5        Registrations and Election Officials for decades

         6        as well as the key members of the legislature over

         7        the years, and they have a good foundational

         8        understanding of what works and what doesn't work

         9        as well.

        10    Q   And why is it important that list maintenance

        11        works well?

        12    A   To maintain public confidence in the integrity of

        13        the election process.

        14    Q   And if the lists are not well-maintained and the

        15        public loses confidence, what's the result?

        16    A   If the public loses confidence or questions the

        17        entire electoral process, then that undermines our

        18        Republican system.

        19    Q   Could it lead to decrease in participation?

        20    A   Certainly.      I think any time that an individual

        21        wonders whether the results of an election are

        22        accurate, whether there's been fraud committed, it

        23        diminishes the confidence that the public has in

        24        the process and in government.

        25    Q   You mentioned earlier you participate in the
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         1        after that I took the lead about communicating

         2        with the Department of Revenue, so I don't recall

         3        any statements she made about it.

         4    Q   Did you also communicate with the Department of

         5        Justice concerning those -- those investigations?

         6    A   We provided, persaunt to the Consent Decree, the

         7        correspondence with the Department of Revenue.

         8        And during our conference calls with the

         9        Department of Justice, I communicated the

        10        conversation with our Department of Revenue.

        11    Q   Now, is there an Indiana state law requiring

        12        county officials to submit affidavits that they

        13        have performed voter list maintenance tasks?

        14    A   Yes, there is.

        15    Q   And how often under this law are county officials

        16        required to submit those affidavits?

        17    A   Under the current version of the law, there is no

        18        specific deadline or period for them to do so.

        19    Q   And with as that law revised during the recent

        20        legislative process?

        21    A   Yes, it was.      It was revised in Senate Bill 519 to

        22        require the affidavit to be executed and filed I

        23        believe no later than 77 days before the election

        24        that reflected the 90-day period under federal law

        25        for the completion of most voter list maintenance
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         1        activities.      So another two weeks following that

         2        for the county to file the affidavit with the

         3        Election Division that those tasks had been

         4        completed.

         5    Q   That sounds more specific than the old

         6        requirement.

         7    A   Well, considerably more than the most recent

         8        version of the law.        The original version back in

         9        1987 required this filing with the County Auditor

        10        rather than with the State.

        11    Q   And then the more recent version prior to this

        12        spring required filing with the State, but not at

        13        a specified time?

        14    A   That's correct.

        15    Q   Had the counties been filing those affidavits

        16        frequently?

        17    A   No, not frequently.

        18    Q   About how many of those affidavits would you say

        19        you'd seen in the past starting with -- between --

        20        going back to 2009?

        21    A   I would say no more than a dozen.

        22    Q   And prior to that, had the compliance with that

        23        provision been increased or greater?

        24    A   No, I don't think there was a significant

        25        difference prior to that.          There was a significant
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         1        change from the original statute that probably had

         2        a major impact on the filing.            The original

         3        statute in 1987 called for the filing of the

         4        affidavit each October with the County Auditor.

         5        The penalty provided in the statute was -- the

         6        rationale for filing with the Auditor which was if

         7        the affidavit was not filed, the County Voter

         8        Registration Officer's salary for October would

         9        not be paid.      That statute was away repealed in

        10        1995, and since that time, there was not a

        11        specific schedule set forth in the statute for

        12        filing affidavits.        And so they -- they were not

        13        filed in large numbers since that point.

        14    Q   Is the new law requiring filings on specific dates

        15        going to be a benefit to your office in monitoring

        16        county performance?

        17    A   Certainly.

        18    Q   And was the -- and conversely, was -- the lack of

        19        compliance previously, was that inhibiting your

        20        ability to maintain an adequate monitoring over

        21        the counties?

        22    A   I don't think I could characterize it as

        23        inhibiting because it was, in essence, a

        24        self-reporting, so I don't think "inhibited".

        25    Q   Would you view this as an effective tool for the
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         1        State Election Division to ensure that counties

         2        are doing their job, complying with the law under

         3        penalty?

         4    A   Yes.

         5    Q   Do county officials typically understand how the

         6        inactive voter lists are supposed to be used?

         7    A   Typically, I would say "yes".

         8    Q   So do you find they generally are familiar with

         9        the requirement to wait two general elections --

        10        one presidential, one midterm -- before removing a

        11        voter on the inactive list?

        12    A   I would say -- again, they are generally -- we

        13        emphasize this restriction on the cancellation of

        14        inactives at every conference or almost every

        15        conference where we get into voter registration.

        16        So yes, I would think they would be.

        17    Q   Ever encounter any confusion from the counties on

        18        that issue?

        19    A   Yes.    There have certainly been some counties who

        20        did not understand the inactivation procedure, the

        21        length of time required until cancellation.                I

        22        would say those are probably relatively isolated.

        23        I can think of two or three counties that had

        24        actual problems that resulted from this

        25        understanding of that.
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         1    Q   And have you always agreed on what the NVRA says

         2        about when you can remove a voter?

         3    A   No.    I'm sure we've not always agreed.

         4    Q   And do you remember what some of those

         5        disagreements might have been?

         6    A   Well, certainly with regard to the uniform

         7        nondiscriminatory requirements for voter list

         8        maintenance in particular.

         9    Q   And what position would your Co-Directors have

        10        taken on that?

        11    A   I think over the period -- I think before I

        12        produced that instructional material from what was

        13        then the Federal Election Commission, I could not

        14        get agreement from my counterparts on triggering

        15        notices based on jury service returns, which

        16        obviously are not sent to all voters of county.

        17    Q   And what was their rationale for not using those

        18        as a trigger?      Did they believe it would be

        19        discriminatory?

        20    A   Yes.    I think the argument was more often phrased

        21        that they were not uniform, that they were not

        22        "all voters" and therefore did not meet the

        23        requirement and certainly could be discriminatory.

        24    Q   And why did you disagree with that?

        25    A   For the same reason that I would argue that
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         1        sending or using the notices sent to advise voters

         2        of polling place changes -- although not sent to

         3        every voter in the county if conducted on a

         4        consistent, uniform basis -- would meet the

         5        language of the requirement.           There would be no

         6        opportunity for discrimination if the same

         7        procedure is followed in each case where it

         8        occurs.

         9    Q   And earlier when we were talking about the NVRA

        10        criteria for removal, the section I read -- it

        11        didn't say anything about permission of the voter,

        12        did it?

        13    A   Well, the section you read did not.

        14    Q   So there might be multiple sections to your

        15        recollection concerning removal of voters?

        16    A   Well, I'd want to review the text of the statute,

        17        but --

        18    Q   So under the NVRA, the official's responsible for

        19        Indiana's compliance with the NVRA are designated

        20        by state law; is that right?

        21    A   Yes, that's correct.

        22    Q   And in Indiana, who are those officials who are

        23        responsible for compliance with the NVRA?

        24    A   The Co-Directors of the Election Division.

        25    Q   And that's designated by state law?
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         1    A   Yes, it is.      It's in Indiana code.

         2    Q   So one of your responsibilities is to ensure that

         3        the State is conducting a program -- a reasonable

         4        program for maintaining accurate voter rolls,

         5        correct?

         6    A   That's correct.

         7    Q   And tell me a little bit about how you understand

         8        that obligation.       What's your -- what's your

         9        general sense of what it means to conduct a

        10        reasonable program for maintaining accurate voter

        11        rolls?

        12                           MR. JEFFERSON GARN:         Objection to

        13        the extent you're asking for him to make a legal

        14        conclusion.

        15    A   I think it involves two components.              The first is

        16        our office's core function of serving as a source

        17        for information and training to make sure that the

        18        County Voter Registration Officials understand the

        19        requirements of federal and state law and then

        20        carry them out.       The -- the other piece is

        21        efficiently managing the resources we have

        22        available to do our job, which of course includes

        23        not just appropriations from the General Assembly,

        24        but a staff of a limited size.

        25    Q   And would these reasonable efforts in both
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         1        educating counties, advising, and managing

         2        resources, those would include specific activities

         3        at specific times in your view?

         4    A   Yes.    The election cycle, of course, dictates to

         5        some extent which activities come to the front.

         6        Probably the two biggest factors would be the

         7        scheduling of general elections and the influx of

         8        voter registrations that typically precedes them.

         9        And then immediately prior to that, the 90-day

        10        deadline for completion of most voter list

        11        maintenance work.

        12    Q   Would the activities that your office would

        13        undertake to comply with this provision, would it

        14        matter whether or not the voter rolls were in very

        15        accurate condition, or less accurate condition; in

        16        other words, would that variable affect what you

        17        viewed as your responsibilities under the NVRA?

        18    A   I suppose it's difficult to -- it's a question of

        19        degree.     We operate with the understanding that

        20        the voter registration rolls will never be

        21        completely accurate.         There is going to be some

        22        data that changes every day.           So I guess I would

        23        say:    No, I don't believe that the relative

        24        accuracy has at least a direct impact on the

        25        ability of our office to carry out those
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         1        responsibilities.

         2    Q   So talk to me about that concept of the degree of

         3        inaccuracy or outdatedness of the voter rolls.                    If

         4        the voter rolls were in a very inaccurate

         5        statement -- I'm sorry -- if the voter rolls were

         6        in a very inaccurate condition, certainly it would

         7        be reasonable for the responsible officials to

         8        make some effort to improve that accuracy; is that

         9        right?

        10    A   Yes, within their ability to do so.

        11    Q   Would it be reasonable for the Co-Directors to

        12        take some of the actions we've discussed here

        13        today in order to improve those rolls?

        14    A   I would believe it's reasonable for the

        15        Co-Directors to undertake some of the activities,

        16        yes.

        17    Q   The Social Security Administration Death Database,

        18        for example?

        19    A   I believe that was a reasonable action to take.

        20    Q   The Post Office National Change of Address

        21        Database, obtaining that?

        22    A   Uh-huh.     Yes.

        23    Q   Entering into the Interstate Crosscheck Program?

        24    A   Yes.

        25    Q   Entering into the Steve Database Program?
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         1    A   Yes.

         2    Q   And the Eve Database Program?

         3    A   Right.

         4    Q   And engaging in county monitoring programs?

         5    A   Yes, I think it was reasonable to do that.

         6    Q   And it would be reasonable to also notify counties

         7        of potential violations in response to that

         8        monitoring?

         9    A   In general, yes.       I think there's a -- there's a

        10        judgment call in particular cases to assess the

        11        extent of the nature of a problem in an individual

        12        county.

        13    Q   Now, in your view, would all of these actions be

        14        necessary for NVRA list maintenance compliance all

        15        at time?

        16    A   No, I suppose not all of the time.

        17    Q   So in other words there might be some times when

        18        the voter rolls were in very good shape,

        19        reasonably accurate, reasonably well-maintained

        20        when the priority of these actions might be less;

        21        is that fair to say?

        22                           MR. JEFFERSON GARN:         Objection; I

        23        think you're assuming facts in evidence -- assumes

        24        certain conclusions that haven't been established.

        25                           MR. CHRIS FEDELI:         Objection is
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         1        noted.

         2    A   Would you mind repeating that?

         3    DIRECT EXAMINATION (Continuing),

         4    QUESTIONS BY MR. CHRIS FEDELI:

         5    Q   Yes.     My question is:      Would it be fair to say

         6        that if the voter rolls were very well maintained

         7        and very accurate, some of these activities might

         8        be either less important or less important to do

         9        with the same frequency as if they were in not

        10        such great shape?

        11    A   I think as a general answer, yes.

        12    Q   Okay.     And same could be said about postcard

        13        mailings done on a statewide basis?

        14    A   Yes, I think so.

        15    Q   So in other words, if the voter rolls were in very

        16        good shape, it might be an issue of "We don't need

        17        to do it this year," but when the voter rolls are

        18        in worse shape, then it might become an issue of

        19        "We really should do this in order to clean up the

        20        rolls"?

        21    A   Yes, I think that's -- that would be my personal

        22        assessment, yes.

        23    Q   So it sounds like what's reasonable list

        24        maintenance under NVRA bears some relationship to

        25        the condition of the voter rolls.             Would you agree
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         1        with that?

         2    A   I think I would with a slightly different focus.

         3        I think it becomes a question of "Which tools are

         4        available and which tools are most suitable to be

         5        used to achieve it?"

         6    Q   And when you say, "Which tools are available",

         7        what is that?

         8    A   I reference, for example, the statewide mailing

         9        which I think is particularly effective.               But

        10        we've not -- until this year's budget -- had

        11        funding from the General Assembly to pay the

        12        postage or any processing costs.             And so yes, I

        13        think that's a more effective tool than perhaps

        14        some of the others, but if that's not available to

        15        us, then we have to consider the use of others.

        16    Q   So you have to use the tools that are available to

        17        you?

        18    A   Exactly.

        19    Q   And is that a standard that would change over time

        20        too, based on the technological tools available?

        21    A   I would think so.        We have expectations that are

        22        founded in technology that we did not have 20

        23        years ago.

        24    Q   NVRA is 20 years old.         What was reasonable in '93

        25        is probably not reasonable in 2013.
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         1    A   Yes.

         2    Q   In your role as Co-Director, do you ever have

         3        conversations with the members of public about

         4        voter list maintenance?

         5    A   Yes, certainly.

         6    Q   And have you ever heard members of the public

         7        express concern about the accuracy and currency of

         8        Indiana's voter rolls?

         9    A   Yes.

        10    Q   And over your tenure, when have you heard those

        11        kind of concerns?

        12    A   I think those are a relatively constant concern.

        13        They're obviously more frequent when we're in the

        14        midst of a high-profile election cycle, but they

        15        occur more or less continuously.

        16    Q   So as long as you've been in office, you've heard

        17        that kind of concern?

        18    A   Yes.

        19    Q   And when citizens communicate about their concerns

        20        of the voter rolls, do they tell you why they're

        21        concerned?

        22    A   Typically, yes.       There will often -- probably most

        23        frequently is where an individual or a family

        24        member is shown on the poll list at their precinct

        25        and they're concerned that the name is still there
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         1        despite the fact that the family member has moved

         2        to college or has died and may not under the

         3        restrictions that the county office is under with

         4        regard to canceling voter registration.

         5    Q   And why would that will bother that somebody --

         6        that a family member who is dead is still on the

         7        voter rolls?

         8    A   I think that's an obvious emotional grieving

         9        reaction to be reminded of a loss.

        10    Q   And what about in the case of somebody who has

        11        moved away out of town?          Why would it bother them

        12        if they're still on the voter rolls?

        13    A   Well, I think it would cause concern that since

        14        the voter rolls were not accurate in reflecting

        15        where this living person was that there is the

        16        potential for a duplicate registration where the

        17        person does currently live, and a potential for

        18        fraud if someone were to impersonate the voter and

        19        vote at the precinct where their name still

        20        appears on the list.

        21    Q   You mentioned earlier that in 2006 the State did a

        22        statewide mailing to remove a lot of ineligible

        23        voters who were no longer registered at the

        24        correct address.       About how long did it take to

        25        complete that process of completing the -- mailing
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         1        moving voters to the inactive rolls?

         2    A   The large majority of the work was done by the

         3        90-day period, which I believe started August the

         4        10th.    There were a number of counties who --

         5        because of misunderstanding instructions or

         6        whatever other individual reasons might have

         7        occurred -- did not make the August 10th deadline

         8        for designating voters as inactive.              In those

         9        cases, that task was picked up after the 2006

        10        Election and completed in 2007.

        11    Q   And as a result of that process, my memory is that

        12        several hundred thousand voters were moved from

        13        active to inactive?

        14    A   Yes, that's correct.

        15    Q   And once that process was complete and not only

        16        after they were removed to the inactive rolls but

        17        then two, two-and-a-half years later -- whatever

        18        the case may be -- they were canceled, the rolls

        19        would have been substantially cleaner.               Once

        20        that's done, does it become easier then to perform

        21        routine day-to-day list maintenance on the list,

        22        let's say for a county official?

        23    A   It's difficult for me to characterize it as

        24        easier; it's more a question of volume.

        25    Q   So less work?
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         1    A   So there's less overall work.            It may still

         2        require the same judgment calls and comparisons,

         3        but it's not quite the volume, certainly.

         4    Q   So if a county were looking at thousands upon

         5        thousands of moved and deceased individuals on its

         6        rolls, it would be like Sisyphus, you know,

         7        looking at the -- pushing a boulder up a hill.                    It

         8        might be more than they could get to in a year,

         9        that's fair to say?

        10    A   Yes, recalling that Sisyphus had the ball roll

        11        back, that's a fair -- fair comparison.

        12                           MR. JEFFERSON GARN:         Not to object

        13        to the analogy, but --

        14                           MR. CHRIS FEDELI:         Close enough.

        15    DIRECT EXAMINATION (Continuing),

        16    QUESTIONS BY MR. CHRIS FEDELI:

        17    Q   And was the -- so once those -- you know, in that

        18        example -- once those names had been cleared from

        19        the roll, that county official would no longer be

        20        faced with an enormous backlog or list of names to

        21        investigate, but could focus more readily on daily

        22        hopper items, investigating, making sure

        23        sufficient confidence was achieved to clean the

        24        rolls, correct?

        25    A   Yes, I believe that's correct.
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         1    Q   Was there a provision in the Consent Decree or the

         2        Compliance Plan which created a triggering for the

         3        State upon learning that a county exceeded

         4        90 percent of its total voting age population on

         5        its voter rolls?

         6    A   There was a provision in the Compliance Plan, as I

         7        recall, that indicated that having more than

         8        90 percent of voting age population registered in

         9        the county was an indicator of a significant

        10        problem, but not necessarily a trigger to a

        11        specific action.

        12    Q   And you would learn about -- under the Compliance

        13        Plan, you would learn about when counties' voter

        14        rolls exceeded 90 percent of total voting age

        15        population through monitoring?

        16    A   Yes, I believe that's right.

        17    Q   And once the Compliance Plan expired, you wouldn't

        18        learn about those events anymore?

        19    A   Not through the mechanism set forth in the

        20        Compliance Plan.

        21    Q   Would you learn about that from other mechanisms?

        22    A   Not automatically, no.         It would require the --

        23        the action of the Co-Directors to obtain the

        24        information.

        25    Q   And do you believe that 90 percent of total voting
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         1        age population count for county voter rolls is

         2        indicative of a potential problem?

         3    A   It's indicative of a potential problem.

         4    Q   And did your Co-Director agree with that?

         5    A   Well, for purposes of signing the Consent Decree,

         6        yes.    Beyond that, I don't believe so.

         7    Q   Earlier you mentioned -- just at few minutes

         8        earlier -- that in order to find out whether a

         9        county had 90 percent of total voting age

        10        population on its rolls, it would require some

        11        decision by the Co-Directors at least after the

        12        expiration of the Consent Decree.             Was that your

        13        testimony?

        14    A   I was referring to what steps, if any, would be

        15        taken following that information.             Of course, any

        16        member of the public can obtain the data, but it's

        17        agency action that would require the agreement on

        18        the Co-Directors.

        19    Q   And following the expiration of the Consent

        20        Decree, were there any times that you were

        21        notified by either somebody in your office or by a

        22        vendor -- I think I heard the name Baker Tilly

        23        mentioned quite a bit yesterday -- that counties

        24        had exceeded 90 percent of total voting age

        25        population?
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         1    A   I recall, of course, in recent times we've had

         2        media reports that included that information.

         3        After the Consent Decree expired, I don't recall

         4        any communication from Baker Tilly or other

         5        vendors about that.

         6    Q   And following 2009, when would you say the first

         7        time was that you heard certain counties might

         8        exceed 90 percent or 100 percent of the total

         9        voting age population?

        10    A   Probably at the beginning of 2012.             Certainly when

        11        the presidential election was beginning to get

        12        underway.

        13    Q   And do you remember how that was brought to your

        14        attention?

        15    A   Just through media articles.           We have a service

        16        called ElectionLine, for example, that publishes

        17        national news clippings related to elections and

        18        oftentimes will pull up something from a local

        19        Indiana newspaper that I might not ordinarily see.

        20        So some source like that.

        21    Q   And were those news reports about the same time

        22        that you got a letter from Judicial Watch

        23        discussing that issue?

        24    A   The reports that I'm remembering, yes.               As I say,

        25        there might have been earlier reports, but I do
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         1        remember media coverage at more or less the same

         2        time.

         3    Q   So this would be have been around February of

         4        2012?

         5    A   Yes, that's correct.

         6    Q   And upon learning this information, did you have a

         7        conversation with the Co-Director about this?

         8    A   Yes.

         9    Q   And tell me about that conversation.

        10    A   We discussed the filing of the grievance for

        11        complaint, and I think in the context of that note

        12        that there had been media reports concerning the

        13        same topic.

        14    Q   Did you have any conversation about whether or not

        15        you wanted to take steps to improve the accuracy

        16        of the voter rolls at that time?

        17    A   Not in context of this conversation.              We might

        18        have had some discussions because the legislature

        19        was in session during January and February, and I

        20        had been involved in the preparation of a bill

        21        that year to make some of the same voter list

        22        maintenance improvements that were ultimately

        23        enacted this year.

        24    Q   Where is -- was there -- were there any steps

        25        taken by the Election Division Office in response
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         1        to learning about this prevalence of 90 percent or

         2        over 100 percent TVAP counties in Indiana in 2012?

         3    A   I believe we had communications with at least some

         4        of the counties that was specifically mentioned,

         5        and I don't recall any further actions that were

         6        taken beyond that other than the processing of the

         7        grievance.

         8    Q   Can you remember what those communications might

         9        have been to the counties, the nature?

        10    A   We had communications that were based on those

        11        same media reports where a county would say:                 We

        12        were mentioned in a newspaper or website as having

        13        more than 100 percent VAP.           What does this mean?

        14        What impact does this have on us?

        15    Q   And did you participate in any of those

        16        conversations?

        17    A   Yes.    I'm sure I had phone conversations with at

        18        least some of those counties.

        19    Q   And in discussing those, did you have any

        20        conversations about what was causing those voter

        21        rolls to be high?

        22    A   I would not have speculated about the cause.                 I

        23        would more likely have asked questions about

        24        whether voter list maintenance activities had been

        25        undertaken in the usual way.
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         1    Q   And I've been referring to those as high

         2        percentages.      Would you agree with that

         3        characterization?

         4    A   Yes.    I think that would come within the

         5        90 percent and above.

         6    Q   So going back to my earlier question, is it fair

         7        to characterize what you were saying is that you

         8        were able to eliminate problems with the DOH

         9        hopper and problems with BMV processing as

        10        contributing to list maintenance problems in 2012?

        11    A   With regard to these particular counties in the

        12        conversation, yes.

        13    Q   And what else did you learn about process of

        14        asking these questions to the counties?

        15    A   Well, in discussions with them and looking at the

        16        overall content of the reports, what I noted was

        17        that many of these counties were small rural

        18        counties, and several of them were counties on the

        19        state's borders.       And so in discussions with the

        20        counties I did raise the question as to whether

        21        they experienced problems that might be accounted

        22        for because voters had moved across the state line

        23        or had died in a hospital across state line, and

        24        at least some counties indicated yes, they were

        25        aware with problems with their rolls for that
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         1        particular reason.

         2    Q   So was the -- counties particularly that were near

         3        the border with another state that were having

         4        problems based on out-of-state moves and

         5        out-of-state deaths; is that right?

         6    A   Yes, that's correct.

         7    Q   And that was, in your opinion, one contributor to

         8        the condition of the voter rolls in 2012?

         9    A   Yes, that is true.

        10    Q   Anything else?

        11    A   Not with regard to causation.            I think I'll just

        12        add Brown County, with the exception of being on

        13        the state line, is similar in that it has a highly

        14        transient population of folks who might move out

        15        of state because they're associated with Indiana

        16        University and would be less likely to stay there.

        17    Q   And which county was that?

        18    A   Brown.

        19    Q   Brown County.      And did you talk to Brown County

        20        about that issue with Indiana University?

        21    A   Not on that occasion, no.

        22    Q   Have you talked to them on other occasions about

        23        that?

        24    A   I am sure at some point over the years I have, but

        25        not as part of this particular episode we're
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         1        discussing here.

         2    Q   And what -- which counties would be doing cases

         3        where they have college students moving in and out

         4        and registering and leaving to maintain their

         5        voter rolls in accurate condition?

         6    A   Well, I think one thing that counties can do that

         7        has a history of some success is working with the

         8        college or university -- to ask that body to

         9        identify students who have graduated and use that

        10        as a basis -- not for the inactivation process

        11        because we have concerns there about being

        12        uniform, discriminatory -- but instead to send

        13        cancellation notices, the VRG-14 Form that I

        14        mentioned earlier.        And at least what I've heard

        15        from St. Joseph County where South Bend is

        16        located, they got enough of a response to justify

        17        that outreach.       So I think there are some things

        18        that those counties can do.

        19    Q   So you talked to St. Joseph County about this

        20        issue as well?

        21    A   I think I heard about this program the -- from

        22        Linda Silka who is then the Republican member of

        23        the Board of Registration.

        24    Q   And --

        25    A   -- because I've not heard that question come in
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         1        independently.       I think she brought this up.

         2    Q   And about what year would that conversation have

         3        been?

         4    A   I would say in the last couple of years, 2010.

         5        Linda has since retired and so I know it was

         6        sometime prior to that.

         7    Q   So this is something that's not only permitted

         8        under Indiana state law, but encouraged -- working

         9        with the colleges to --

        10    A   I personally would encourage it, yes.

        11    Q   Ever discuss this issue with your Democratic

        12        Co-Director?

        13    A   No.     I don't recall ever discussing it with one of

        14        my counterparts.

        15    Q   So is this working with colleges to keep track of

        16        students who graduate or move, to ask them to

        17        affirmatively cancel their registrations, that's

        18        something the Election Division encourages

        19        counties to do?

        20    A   Well, I have to give the Sammons v. Conrad

        21        excerpts in that -- yes, I would encourage

        22        counties to do that, but I can't say the Election

        23        Division is.

        24    Q   What's your understanding of Sammons v. Conrad?

        25    A   Sammons v. Conrad is an Indiana Supreme Court case
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         1        that arose in 2000 involving a dispute about the

         2        two Co-Directors about the certification of a

         3        candidate for the November 2000 General Election

         4        ballot.     The Court's holding in the end was that

         5        although the candidate should have been on the

         6        November 2000 ballot, that the action by one

         7        Co-Director to sign a certificate was ineffective

         8        because the statute required the action of both

         9        Co-Directors in concert to perform any task.

        10    Q   So --

        11    A   They also made a less-than-complimentary allusion

        12        to co-general counsel as being an oxymoronic term.

        13    Q   So this decision, in some cases, limit what one

        14        Co-Director can do without the other's active

        15        participation?

        16    A   That's like saying the Titanic was a big boat.

        17        Yes, it -- we are -- if we are unable to agree --

        18        we are required to agree to pay bills for the

        19        photo copier.      He have an alteration made to our

        20        statement financial system just for us so that the

        21        approval of both Co-Directors was documented to

        22        pay bills.

        23    Q   So if it can cause problems in paying the photo

        24        copier, I imagine -- as we've discussed -- it also

        25        causes problems in performing those maintenance
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         1        tasks?

         2    A   Yes.

         3    Q   Does it make it more difficult for the

         4        Co-Directors to perform list maintenance?

         5    A   Yes.

         6    Q   Does it make it more difficult to comply with the

         7        NVRA?

         8    A   Yes.

         9    Q   Going back briefly to the issue with colleges, do

        10        you know if instructions concerning a county

        11        dealing with colleges for list maintenance --

        12        would that have been included in educational

        13        materials or in conference instructions to the

        14        best of your memory?

        15    A   It would not have been included yet in

        16        instructional materials.          I think it might have

        17        been mentioned at one of our conferences or

        18        association meetings with clerks.

        19    Q   And would it have been mentioned in the form of a

        20        presentation?

        21    A   Just in terms of probably discussion.              We

        22        typically have a question-and-answer period as

        23        part of the presentation, and I know counties will

        24        often either volunteer methods they found to be

        25        successful or will ask others to volunteer it.                    So
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         1        I think that would have been the context.

         2    Q   Assuming the Co-Directors both agree, does the

         3        Indiana Election Division have the power to obtain

         4        the Social Security Death Database, in your

         5        opinion?

         6    A   Yes.

         7    Q   And why was it not obtained?

         8    A   There has not been agreement since that episode I

         9        mentioned involving Marion County to obtain it.

        10    Q   So there hasn't been agreement between

        11        Co-Directors?

        12    A   That's right.

        13    Q   Excuse me.      And same question about the Interstate

        14        Crosscheck Program -- if the Co-Directors agree,

        15        your opinion is your office has the power to turn

        16        to that program?

        17    A   Yes.    It would even -- absent the statute that was

        18        enacted.

        19    Q   And the Co-Directors did not agree; is that

        20        correct.

        21    A   That would be correct.         In that particular case,

        22        we had conflicting testimony before the

        23        legislative committees when Senate Enrolled Act

        24        519 was under consideration.

        25    Q   And what were those -- were those the conflicting
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         1        opinions we discussed earlier?

         2    A   Yes, with regard to the general reliability of the

         3        data produced by the Kansas Consortion.

         4                           MR. CHRIS FEDELI:         Can we go off

         5        the record for a moment?

         6                           (A short break was taken.)

         7    DIRECT EXAMINATION (Continuing),

         8    QUESTIONS BY MR. CHRIS FEDELI:

         9    Q   Now, I understand that Indiana state law places

        10        responsibility to do voter registration

        11        cancellations on the county official.              Is my

        12        understanding right?

        13    A   That's correct.

        14    Q   Now, does federal law also speak to the power to

        15        cancel voter registrations by either the state or

        16        the county, do you know?

        17    A   I don't recall that it addresses it other than

        18        establishing the duty to do it under the

        19        circumstances of NVRA.

        20    Q   Does the Help America Vote Act empower the State

        21        of Indiana to cancel registrations under certain

        22        circumstances?

        23                           MR. JEFFERSON GARN:         Object on the

        24        grounds of relevance.         I --

        25                           MR. CHRIS FEDELI:         Relevance, Jeff.
